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                              PETITION FOR WRIT OF HABEAS CORPUS

                                    UNDER 28 U .S .C. SECTION 225 4

     Prisoner's Name : Jimmy Fletcher Meders

     Prisoner's Number : GDC 0000516816

     Place of Confinement :                                       Georgia Diagnostic and
                                                                  Classification Prison
                                                                  Jackson, Georgia 3023 3

                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                        BRUNSWICK DIVISIO N

     JIMMY FLETCHER MEDERS ,

                    Petitioner                                             CV2 G.79 p
                                                           Civil Action No .
            V.
                                                           Habeas Corpus
     WILLIAM TERRY, Warden , Georgia
     Diagnostic Prison,

                    Respondent


                       INITIAL PETITION FOR WRIT OF HABEAS CORPUS
                 BY A PERSON IN STATE CUSTODY UNDER SENTENCE OF DEAT H

            NOW COMES the Petitioner, Jimmy Fletcher Meders, by and through undersigned

     counsel, and invokes this Court' s jurisdiction pursuant to 28 U.S.C. § 2254 .

            Petitioner seeks this Court' s protection and intercession because the Georgia state courts

     have violated, and unreasonably and arbitrarily refused to correct violations, of the Petitioner's

     Fourth, Fifth, Sixth, Eighth, and Fourteenth Amendment rights , resulting in Petitioner's

     unconstitutional convictions of malice murder and sentence of death.' Petitioner requests that

     this Court afford him all of the protections promised by federal habeas corpus statutes , the rules

             ' Petitioner was also convicted of armed robbery and sentenced to life imprisonment
     during the same trial. Petitioner challenges his robbery conviction and life sentence as well.


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governing § 2254 cases in the United States District Courts, the Criminal Justice Act, and all

other pertinent statutes, court rules, and case law . Finally, Petitioner seeks an Order granting an

evidentiary hearing to present the necessary evidence in support of his claims, as well as an

Order granting this petition for writ of habeas corpus .

                                        INTRODUCTION

        Petitioner's conviction and death sentence were reversed by a state habeas corpus judge

(Bishop, J .) sitting in the Superior Court for Butts County and Petitioner Meders was granted a

new trial based upon the state habeas court's finding that Petitioner was denied his right to the

effective assistance of counsel as protected by the Sixth Amendment to the United States

Constitution. Meders v. Schofield , Butts County Superior Court No . 93-V-188 . (Order dated

September 28, 2005) (hereafter referred to as the "Habeas Order" or "HO") . The habeas court

denied Petitioner's other requests for relief based, inter alia, upon claims of prosecutorial

misconduct for introducing and using perjured testimony and suppressing exculpatory evidence .

Id. The habeas court also did not reach Petitioner's challenge to his sentence because it ordered

a new trial.

        The Georgia Supreme Court reversed the habeas court's grant of a new trial finding that

consideration of Petitioner's claims of ineffective assistance were procedurally barred . Schofield

v. Meders , 280 Ga . 865, 632 S .E.2d 369 (2006) . The Georgia Supreme Court also found that

Petitioner's other claims were procedurally defaulted . Id . Finally, the Georgia Supreme Court

did not address Petitioner's sentencing claims or remand the matter so that the sentencing claims

could be reviewed by the habeas court despite Meders's request for remand to consider the

sentencing phase of his trial . Opening Brief on Cross Appeal at 36 and 43 ; Motion to Reconsider




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at 1, 6 and 15-17 . The Georgia Supreme Court' s ruling became final on July 25, 2006, after

Petitioner' s motion for reconsideration was denied .

        Certiorari to the United States Supreme Court was denied . Meders v . Schofield, 127 S .Ct

958 (2007) .

                                      Section 2254(d) and (e)

        This Court must apply the provisions of 28 U .S.C. § 2254(d) and (e) to resolve the merits

of the issues presented by Meders's Petition for Writ of Habeas Corpus if certain conditions are

met. Under 28 U.S.C. §§ 2254(d) and (e) this Court's review is constrained if the state court has

addressed the merits of a federal constitutional claim for relief, has issued an opinion with

respect to the merits, has adjudicated the merits, see § 2254(d) ; and if the merits treatment

occurred on a complete record, see 2254(e)(2),2 with facts found in a reasonable manner, see §

2254(d)(2), and with facts found that are supported by the record, see § 2254(e)(1), then relief

may not be granted on the claim in federal habeas corpus proceedings unless the state court

decision was contrary to or involved an unreasonable application of federal law as established by

the Supreme Court . See 2254(d)(1), see also Wiggins v . Smith, 539 U .S. 510, 123 S .Ct. 2527

(2003); (Terry) Williams v . Taylor , 529 U .S. 1495, 120 S .Ct. 1495 (2000) and Michael

Williams v. Taylor, 529 U .S. 420, 120 S .Ct. 1479 (2000) .

                                     STATEMENT OF FACTS 3




        2 If the record from state court is materially incomplete for reasons not fairly attributable
to the Petitioner, then Petitioner will be eligible to develop and present additional facts during the
proceedings before this Court. See § 2254 (e)(2) and (Michael) Williams v; Taylor , 529 U.S .
420 (2000) .
        3 This introductory section provides facts relevant to all grounds and is supplemented
within each ground for relief as necessary . The record is referred to as follows . The trial
transcript is referred to as "TT ." The transcript of the remand hearing is referred to as "RT ."
The transcript of the habeas hearing is referred to as "HT ." The remand order is referred to as
"RO" and the habeas order is referred to as "HO ."


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         Petitioner Meders was convicted of the malice murder and armed robbery of a Jiffy Mart

convenience store clerk that occurred during the early morning hours of October 14, 1987 .

Petitioner, a first time offender of very limited intelligence4 was sentenced to death after a four

day trial in April 1989 . The jury submitted Jury Question 5 during its deliberations which

specifically sought police reports that would have corroborated Petitioner's testimony, but which

had not been introduced into evidence by the defense nor mentioned by the prosecution . HO-34

and Jury Question 5, TT-1360, Court Exh . 1 . The prosecutor had the police reports in his trial

file, HO-41 and HT-128, but did not bring the reports to the attention of the trial judge . Id. The

following facts make clear the critical importance of the police reports that were withheld from

the jury that convicted Petitioner and sentenced him to death .

         Petitioner Meders was the only person charged with the murder or the associated robbery

of the convenience store clerk even though two other men, Bill Arnold5 and Greg Creel, admitted

to being present in the convenience store at the time of the crime . HO-38. The habeas court,

after hearing three days of testimony and reviewing 52 exhibits encompassing six bound

volumes, recognized that all three men were present at the time of the murder and identified the

key issue at trial as having been which of the three possessed the murder weapon immediately

prior to the killing because the possessor of the weapon likely committed the murder . HO-38 .

Meders and Arnold each accused the other of possessing the murder weapon immediately prior

to the killing .

         Meders testified that he had spent the day drinking and taking drugs with Arnold and

Creel. TT-1075 . Arnold and Creel then took Meders home . According to Meders, Arnold and



       4 HT-229 and 314 . Meders also has brain damage . HT-315 .
        5 Arnold was previously represented by Meders ' s trial counsel , John Davis, when A rnold
pled guilty to burglary . HT-52 .


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 Creel returned to his home later to pick him up specifically to retrieve Meders's gun that they

later used to commit the murder . TT-895-98, 1084 . According to Meders's testimony, Arnold

and Creel possessed Meders's gun immediately prior to the killing and used it to shoot at two

pick-up trucks owned by men with whom Arnold and Creel were feuding . TT-897-98 and 1085-

87 . The second truck, owned by Robert Brown, was located near a florist on Georgia Highway

303. TT-1086-87; see also HO-38 .

        The jury specifically asked whether there were police reports concerning the shooting of

Brown's truck as had been described by Meders :

                  Was there any reports filed on the incident of the truck, on Ga Hwy 303,
                  reported between the day, after or between then and now, being shot at ?

HO-34 ; Jury Question 5, TT-1360, Court Ex . 1 . The habeas court found : "Jury Question 5

established the importance of Meders's testimony about the shooting at the pick-up truck near

Highway 303 ." HO-38-39 . 6

        The prosecutor had the police report of the Highway 303 shooting in his personal file

during the trial, realized the significance of the reports at least when the jury asked its Question

5, yet said nothing to the court or jury . HO-41 and HT-128 . Prosecutor John Johnson kept silent

about the police reports for two years and only acknowledged the existence of the police reports

at the time of the remand hearing, after the police reports had been obtained by substitute

counsel . HO-44-45 . The police reports were not in the files of Meders's trial lawyer, John

Davis . HO-42 ,




       6 The trial court's response to this question simply instructed the jury to rely on the
evidence already introduced at trial . There was no evidence introduced at trial about the police
incident reports or about related prior inconsistent statements by Creel or Arnold, or by a third
witness, Randy Harris . HO-37 n .l .


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        Creel was mentioned by name as a suspect in the police report of the shooting of the

truck owned by Robert Brown . The officer who investigated the Brown's truck "commented at

the time that he took the report that the slug found was similar to the one found at the scene of

the murder ." HO-39. This investigating officer, thus, linked the Brown truck shooting incident

directly to the Jiffy Mart killing . There was also a time and location proximity between the

Brown truck shooting and the Jiffy Mart murder . The Brown truck was shot at 1 :30 a .m. on

October 14, 1987 . Remand Hearing Exhibit D-2F (Brown report) . The murder at the Jiffy Mart

occurred at approximately 2 :30 a .m. on the 14'h . Remand Hearing Exhibit D-2C . Both the

Brown and Jiffy Mart incidents were in the same area of Glynn County . Remand Hearing

Exhibit D-5 . Meders also testified to another truck shooting committed by Arnold, a bit earlier

on the 14th, at 12 :30 a .m. Remand Hearing Exhibit D-2G (Bowen report) .

        Lead detective, Jack Boyet, recognized the significance of the Bowen and Brown reports

and copied them for his file within two days of the murder . RT-182,7 see Remand Hearing

Exhibits D-2F (Brown report) and D-2D (Bowen report) . 8

       A week before trial, Creel and Arnold admitted to the prosecutor and the lead detective

that they knew truck owner Bowen and that they knew, and were actively feuding with Brown,

the owner of the truck near Highway 303 . HO-45 . The State never revealed this exculpatory

evidence to the defense. Id. Nor did the State reveal that approximately two months after the

murder and 16 months before trial, Creel was charged with trespass and throwing a railroad ti e


        7 The habeas court concluded, however, that there was no evidence that the reports were
in the prosecutor's file at the time he purportedly met his duty to disclose exculpatory evidence
under Brady v. Maryland by providing trial lawyer Davis with access to this prosecution file, "if
indeed a review took place." HO-42 .
        8 The lead detective recalled five or six incident additional reports that documented the
feud between the Creel and Brown families, but those reports were not provided to the
prosecutor and were not in his file when it was reviewed by Davis, if indeed a review occurred .
HT-189.


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 through the window of the Brown ' s vehicle and a c ri minal arrest warrant was issued . HT-737,

 Ex. P-1, John Davis , Meders's trial lawyer , also appears never to have learned about the ch arges

 against Creel on his own. Detective Boyet, however, knew of the railroad tie charges because he

 personally investigated the incident . HO-42 .

        The habeas court found that :

                [t]rial counsel did not introduce any evidence to corroborate Meders's
                testimony that Arnold and/or Creel had possession of the murder weapon
                on the night of the killing .

 HO-39 . The police reports were not introduced and no corroborative witnesses (e .g., Brown or

the investigating officers) were called to testify at trial .

        The prosecutor compounded his withholding of the police reports of the truck shootings

by actively misleading the jury when he elicited false testimony from the lead detective (who

also had the Brown and Bowen reports in his file) that "no evidence whatsoever" corroborated

Meders's testimony that Arnold shot the pick-up trucks, TT-900, and failed to correct false

testimony to the same effect offered by the detective during cross-examination . TT-908 ;9 see

also HO-39 . The jury, hearing the investigator's assertion that "no evidence whatsoever"

corroborated Meders's description of the truck shootings, reasonably inferred that the trucks

were not, in fact, shot . The police reports directly refuted this false conclusion .

        The jury clearly sought the police reports to determine if any truck shootings had, in fact,

occurred. The absence of the reports and the lead detective's testimony that "no evidence

whatsoever" corroborated Meders's testimony, coupled with the prosecutor's argument to th e




         9 Meders had given a statement to the lead detective five months before trial in which he
described the truck shootings . Thus, Johnson knew prior to trial that Meders would probably
testify that Creel and Arnold had Meders's pistol and had used it to shoot the Brown and Bowen
pick-up trucks shortly before the murder . HO-44 citing HT-122 .


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same effect, gave the jury misleading information and it was on this false evidence that Meders

was convicted and sentenced to death .

                                 HISTORY OF PRIOR PROCEEDING S

        1 . a. The name and location of the court that entered the judgment of convictio n

               and sentence challenged : Superior Court of Glynn County, Brunswick, Georgia .

               b. Criminal Docket No . 87-00763

        2 . a. The date of the judgment of conviction for malice murder and armed

robbery was : April 7, 1989 .

               b . The date of the judgment of sentence was : April 7, 1989 .

        3 . Length of Sentence : Petitioner Meders was sentenced to death for malice murder and

received a consecutive life sentence for armed robbery .

       4. Petitioner was convicted of multiple counts.

        5 . Petitioner was convicted of murder, in violation of O .C.G.A. § 16-5-1, and armed

robbery, in violation of O .C.G.A. § 16-8-41 .

       6. Petitioner pled not guilty at trial . The trial on the issue of guilt or innocence and on

the issue of sentence was had before a jury .

       7 . Petitioner testified at the trial on the issue of guilt or innocence and at pretrial .

        8. Petitioner appealed his convictions and sentence of death and life imprisonment .

       9 . The facts of Petitioner's appeal are as follows :

           a) Georgia Supreme Court ;

           b) S89P0175 .

           c) Petitioner's convictions and sentences were affirmed by the Georgia Supreme

               Court on February 28, 1990 . Meders v . State, 260 Ga . 49, 389 S .E.2d 320 (1990) .




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                A remand hearing was held as part of the direct appeal on March 26, 1991 .10

                Relief was denied by the Glynn County Superior Court on July 10, 1991 and the

                Georgia Supreme Court affirmed the denial of relief on remand in a decision

                reported as Meders v . State, 261 Ga . 806, 411 S .E.2d 491 (1992) . This decision

                was also part of case number S89PO175 .

            d) Grounds Raised on direct appeal :

                     i. Denial of due process because the trial court, ignoring a bona fide doubt,

                        failed to hold a hearing to determine if Petitioner was competent ;

                    ii . Denial of due process and effective assistance at trial and sentencing by

                        the trial court's refusal to appoint a mental health expert to assist the

                        defense;

                   iii . Denial of constitutional rights protected by the Georgia and United States

                        Constitutions by the jury/venire selection process ;

                   iv. Denial of due process by the introduction into evidence of a summons

                        charging cocaine sale ;




        10 Meders, with the assistance of other counsel, is filing a second state habeas petition in
which he challenges the effective assistance of counsel provided to him on remand . This filing is
necessitated by the Georgia Supreme Court's ruling that Meders's counsel defaulted significant
issues by not raising them at the remand hearing . Schofield v . Meders, 280 Ga. 865, 632 S .E .2d
369 (2006) . Petitioner, for example, did not raise issues concerning prosecutorial misconduct
because the remand was expressly for the purposes of litigating the ineffective assistance of
counsel . See Meders 1 , 260 Ga at 56, 389 S .E.2d at 326 ("The question of effectiveness will
likely have to be addressed at some point, and we see no reason not to do it now . We therefore
grant the state's request for a remand to give defendant an opportunity to litigate this issue . If it is
necessary to appoint counsel to represent the defendant on remand, the court shall do so ."),
Petitioner takes the Georgia Supreme Court's conclusions issued with respect to default as
correct for purposes of the recently initiated state habeas proceedings only and maintains his
right to challenge the legal and factual bases for those conclusions in the litigation before this
Court .


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        v. Denial of constitutional rights to a fair trial and a reliable sentencing by

            the prosecutor's misconduct in closing argument ;

       vi. The trial court abused its discretion and thereby rendered the Petitioner's

            conviction and sentence of death unreliable and arbitrary when the court

            failed to hold a hearing or grant a mistrial in response to Petitioner's

            complaint that he only received four days notice of the trial date and was

            unable to procure the attendance of a witness ;

      vii. The introduction of gruesome photographs not relevant to matters in issue

            violated due process ;

      viii . The trial court erroneously found that Petitioner's pretrial statements were

            voluntarily made in violation of his constitutional rights ;

       ix. The Petitioner's right to a fair and impartial grand jury was violated by the

            presence of three grand jurors who were biased against the Petitioner ;

        x. The Unified Appeal Procedure mandated by O .C .G.A. 17-10-36, on its

            face and as applied, violated the Petitioner's Fifth, Sixth, Eighth and

            Fourteenth Amendment rights .

       xi. After remand, Petitioner challenged the orders upholding his conviction

            and refusing to grant him funds to retain experts in the field of jury

            selection, mental health and the practice of criminal law ,

 e) Higher state court review was not sought because the Georgia Supreme Court is

    the highest state court .

 f) A Petition for Writ of Certiorari to the United States Supreme Court was filed

    (Docket No . 91-8283) and on October 5, 1992, the United States Supreme Cour t




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               denied the Petition for Writ of Certiorari . Meders v . Georgia , 506 U .S. 837, 117

               S.Ct. 114 (1992) .

       10 . On April 2, 1993, Meders filed a Petition for Writ of Habeas Corpus with the

Superior Court of Butts County pursuant to O .C .G.A . § 9-14-41, et seq.

           a) Superior Court for Butts County, Georgia ;

           b) Docket No . 93-V-188 ;

           c) Date of Filing : April 2, 1993 ;

           d) Nature of the Proceeding : Habeas Corpus ;

           e) Grounds raised :

                   i . Challenge to Execution Warrant-Insufficient Statutory Notice ;

                  ii . Challenge to Execution Warrant-Failure to Comply with Court Order ;

                 iii . Denial of Effective Assistance of Counsel (numerous sub-parts) ;

                  iv. Prosecution Subornation of Perjury ;

                  v . Prosecution Misconduct in Closing Argument (falsely arguing state's

                      witnesses "told the same story since day one") ;

                 vi . Improper Instructions ;

                 vii . Failure to Hold Competency Hearing ;

                viii . Refusal to Appoint Mental Health Expert at Trial ;

                 ix. Denial of Jury/Venire Challenge ;

                  x . Improper Admission/ Failure to Object to Cocaine Charge Summons ;

                 xi. Misconduct in Introducing Cocaine Charge Summons ;

                xii. Prosecution Misconduct in Closing Argument (inflammatory and personal

                      arguments at sentencing and reduction of jurors' moral responsibility) ;




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      xiii . Insufficient Notice of Trial Date ;

      xiv . Introduction of Gruesome Photographs;

       xv. Involuntary Pretrial Statements ;

      xvi . Facial and as applied challenge to Unified Appeal Procedure ;

      xvii. O.C .G.A. §17-10-30 Unconstitutionally Violates Fifth, Sixth, Eighth, and

            Fourteenth Amendments ;

     xviii . Arbitrary Application of Aggravating Circumstances ;

      xix . O.C.G.A. § 17-9-3 is Unconstitutional ;

       xx. O .C.G .A . §17-10-37 is not Complied With ;

      xxi . Violation of Gregg v . Georgia;

     xxii . Failure to Reveal the Deal ;

     xxiii . Denial of Motion for Directed Verdict ;

     xxiv . Denial of Motion for New Trial ;

     xxv . Vagueness in Statutory Aggravating Circumstances ;

     xxvi . Death Penalty is Unconstitutional ;

    xxvii . Denial of Expert Assistance on Remand (mental health expert) ;

   xxviii . Denial of Jury Selection Expert on Remand ;

    xxix . Denial of Due Process at Remand ;

     xxx . Failure to Appoint Mental Health Expert on Remand to litigate

           Voluntariness of Pretrial Statements ;

    xxxi . Denial of Expert Assistance on Remand to Litigate Effective Assistance

           Received at Sentencing ;

    xxxii . Mental Retardation (First Amended Petition);




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               xxxiii . Denial of Effective Assistance at Trial/Expanded Grounds (Second

                        Amended Petition) ;

               xxxiv . Denial of Fair Hearing on Remand/Expanded Grounds (Second Amended

                        Petition);

                xxxv . Refusal to Appoint Defense Expert for Trial/Expanded Grounds (Second

                        Amended Petition) ; and

               xxxvi. Denial of Due Process/Brad v . Maryland (Second Amended Petition and

                        further expanded in post-hearing briefings) .

            f) Petitioner received an evidentiary hearing .

            g) Patula Circuit Superior Court Judge Joseph Bishop, sitting by designation in Butts

                County, conducted an evidentiary hearing on November 28-29, 1995 and on

                December 27, 1995 .

            h) On September 28, 2005, the habeas court granted relief .

        11 . The State appealed to the Supreme Court of Georgia and on June 12, 2006, the

Supreme Court of Georgia reversed the habeas court and denied relief. Schofield v . Meders, 280

Ga. 865, 632 S .E.2d 369 (2006) . A motion to reconsider was denied on July 25, 2006 . Id .

Petitioner filed a cross-appeal which also was denied . Id . The State's appeal was in Docket No .

S06A0579, the cross appeal was Docket No . S06X0581 .

        12 . Petitioner filed a Petition for Writ of Certiorari to the Supreme Court of the

United States on October 24, 2006 and that Court denied the Petition for Writ of Certiorari on

January 7, 2007 . Meders v . Schofield , 127 S .Ct 958 (2007) .

                                       CLAIMS FOR RELIEF

                                            CLAIM ON E




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                      INEFFECTIVE ASSISTANCE OF TRIAL COUNSE L

PETITIONER WAS DENIED THE EFFECTIVE ASSISTANCE OF COUNSEL AT TRIAL
AND SENTENCING IN VIOLATION OF THE SIXTH AND FOURTEENTH
AMENDMENTS TO THE UNITED STATES CONSTITUTION BY THE MULTIPLE AND
GRAVE FAILINGS OF TRIAL COUNSEL INCLUDING, INTER ALIA, THE FAILURE TO
DISCOVER AND INTRODUCE OR UTILIZE POLICE INCIDENT REPORTS AND PRIOR
INCONSISTENT STATEMENTS OF STATE WITNESSES WHICH WOULD HAVE
CORROBORATED PETITIONER'S TESTIMONY AND IMPEACHED THE TESTIMONY
OF THE STATE'S WITNESSES, THE FAILURE TO OBJECT TO INADMISSIBLE
EVIDENCE OF AN UNRELATED COCAINE CHARGE AND INADMISSIBLE EVIDENCE
OF FOOD STAMPS, AND THE FAILURE TO REVIEW PETITIONER'S MENTAL
EVALUATION AND PRESENT AVAILABLE MITIGATING EVIDENCE IN THE
SENTENCING PHASE .

        13 . Petitioner incorporates all prior allegations of fact as if set out fully herein . This

claim is evidenced by the following factual allegations and legal conclusions .

        14 . As found by the habeas court, Petitioner was denied the effective assistance of

counsel . HO-49 . Trial counsel, John Davis, who was 71 at the time of trial, did not have an

attorney sitting second chair at trial . HO-24 . There was, at best, inconclusive evidence as to

whether Davis reviewed the prosecutor's file as claimed by the prosecutor even though this was

purportedly the method by which the State met its duty to provide exculpatory evidence . HO-25 .

Further, and more importantly, there is no evidence that critical police reports and witness

statements were in the prosecutor's file when it was reviewed, if a review occurred . HO-42-43 .

Davis was unaware of a psychiatric report about Meders's competence to stand trial until after

jury selection . HO-25 . Davis failed to make an opening statement in the guilt/innocence phase .

HO-26 . Davis failed to make an opening statement in the sentencing phase . HO-26 .

        15 . The habeas court found, and Petitioner here asserts, that Davis's representation

was ineffective in at least three areas of the trial . First, the habeas court found that trial counsel's

failure to object to the admission of a summons for a cocaine charge was :




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           grave error where, as here, the unrelated charge summons was used to bolster
           testimony from an uncharged, unindicted party present at the scene of the crime
           who, in turn, could have been impeached with prior inconsistent statements
           discovered during pretrial investigation by a reasonably effective lawyer .

HO-34 .

          16 . Second, the habeas court found trial counsel was ineffective in failing to object t o

the admission of inadmissible food stamps :

           .. . this failure to object to the food stamps just as the failure to object to the
           cocaine summons-also constituted grave error where, as here, the unrelated and
           legally received food stamps in Petitioner's wallet were clearly intended by the
           prosecution to cause jurors to connect the Petitioner with food stamps stolen
           during the scene of the crime .

HO-36 .

          17. Third, the habeas court extensively analyzed the failure of trial counsel to

introduce police reports and to impeach the testimony of the State's key witnesses, Creel and

Arnold, with their prior statements about topics related to the police reports . HO-37. The court

first noted that during guilt-innocence deliberations, the jury sent out Question 5, asking :

             Was there any reports filed on the incident of the truck, on Ga Hwy 303
           reported between the day, after or between then and now, being shot at ?

HO-37 ; TT-1061 . The habeas court concluded that "at trial, possession of the murder weapon

prior to the killing was a critical issue in contention ." HO-38 . The habeas court found that two

police reports were in the prosecutor's file at the time of trial, Remand Hearing Exhibits D-2F

and D-2D, that corroborated Petitioner Meders's testimony on this point, as were transcripts of

interviews of Creel and Arnold that impeached their claims of a lack of knowledge about the

presence of the gun . HO-38-42 . The habeas court found that the prosecutor elicited testimony

from lead investigator Boyet in which Boyet informed the jury there was "no evidenc e




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 whatsoever" to corroborate Petitioner's account of the truck shooting . HO-40-41 .11 The habeas

 court concluded that Petitioner did not receive effective as sistance of counsel and was prejudiced

"because, if [Davis] had indeed reviewed the State's file, the Petitioner' s trial counsel failed to

introduce corroborative evidence, and failed to impeach Creel and Arnold with their prior

statements." HO-37 . Alternatively, Davis was ineffective for not reviewing the prosecutor's file

and/or in failing to conduct sufficient investigation based upon Meders's descriptions of the

truck shootings to have found the corroborative police reports on his own .

        18 . The habeas court did not rule on Meders' s claims regarding trial counsel Davis's

failure to provide effectiveness assistance of counsel during the sentencing phase because the

court granted Petitioner's request for a new guilt/innocence trial . Petitioner preserved those

claims and asserts them here .

        19. No court has ever provided Petitioner with a full and fair hearing of his sentencing

claims and ruled thereon . The habeas court did not reach this issue because it ordered a new

trial . The remand court refused to provide Petitioner, who was indigent at all relevant times,

with funds to retain a mental health expert who was crucial to making the showing necessary to

establish ineffectiveness and prejudice in the sentencing proceeding .

       20 . William Dickinson, PhD was eventually retained and testified at the habeas

hearing . Dr. Dickinson found evidence that should have been presented as mitigation at the time

of sentencing including that Meders is a first offender, HT-229, that he is only within the "dull

normal range of intelligence," HT-314, that he has clear brain damage , HT-315, and that he

"would unlikely be able to fabricate [a complex story] and to maintain that fabrication with an y


       11 Johnson also falsely argued to the jury in closing that Creel, Arnold and Harri s
should be believed because the "all told the same story all the way down the line from day one ."
TT-1 183 . In fact, all three had told materially different "stories" soon after the killing and
should have been impeached at trial .


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degree of consistency during interviews or interrogation ." HT-325 . This last finding was also

highly relevant to guilt and innocence .

        21 . In addition, Dr . Dickinson shed light on the evaluation conducted by Dr .

D'Alesandro, the state-hired competency expert . Dr. D'Alesandro was personally unaware that

Meders was facing the death penalty, yet opined that Meders was competent, that is, that Meders

understood the charges against him and could participate in the proceedings . HT-400-401, 418-

19, 422 . D'Alesandro also knew very little about seminal texts in his field and used outdated

tests to determine Meders's intelligence . Id.

        22. Dr. Dickinson testified that he could have provided evidence to a jury that

confirmed that Meders likely did not have the mental capacity to have fabricated the descriptions

about the pick-up truck shootings . HT-308-12 . Dr . Dickinson testified to Meders's history of

brain injuries, his very low educational level, his exposure to toxic substances that affected his

neurological functions, his long history of poly-substance abuse, and his depression. Id.

Dickinson also testified that Meders had a very good capacity to adapt to prison life and, in fact,

has not been a problem while incarcerated . HT-355 . None of this testimony was before the jury

and trial court when Meders was tried, convicted and sentenced to death .12 As the remand court

denied Meders's request for funds necessary to hire Dr . Dickinson, this evidence was also not

introduced during the remand hearing .

       23 . All of these factors support a case for mitigation that should have been presented

to the sentencing jury and would have been presented to the judge on remand had Meders been

granted the funds to retain an appropriate expert .

       24. These issues have been exhausted in state court .


       12 Testimony of the type provided by Dr . Dickinson was also unavailable during efforts to
determine whether Meders's pretrial statements were voluntarily made .


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          25 . Not all of these issues were raised on the original direct appeal . The challenges

that could have been raised without the appointment of experts were raised during the remand

hearing and then Petitioner appealed from the remand order that denied relief . The remand order

was upheld by the Georgia Supreme Court .          Meders v. State, 261 Ga . 806, 411 S .E.2d 491

(1992).

          26. Petitioner raised the remainder of these claims of ineffective assistance in his first

state habeas petition filed on April 2, 1993 in case number 93-V-188 . The habeas petition was

granted on these ineffectiveness grounds . The habeas court did not address the Petitioner's

sentencing arguments because it ordered a new trial . A copy of the habeas order is attached to

this petition.

          27. The Georgia Supreme Court reversed the order granting a new trial and denied

Petitioner's cross-appeal . Schofield v. Meders, 280 Ga . 865, 632 S .E.2d 369 (2006) cert. denied

sub. nom. Meders v . Schofield , 127 S .Ct. 958 (2007).

                                            CLAIM TW O

                       PROSECUTOR'S USE OF PERJURED TESTIMON Y

THE PROSECUTOR'S INTENTIONAL INTRODUCTION OF PERJURED TESTIMONY
VIOLATED THE FIFTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
CONSTITUTION WHEN THE PROSECUTOR KNOWINGLY INTRODUCED TESTIMONY
FROM THE LEAD DETECTIVE THAT "NO EVIDENCE WHATSOEVER"
CORROBORATED PETITIONER'S TESTIMONY ABOUT THE TRUCK SHOOTINGS AND
ARGUED THAT THE STATE'S THREE KEY WITNESSES "ALL TOLD THE SAME
STORY . . . FROM DAY ONE" WHEN THE PROSECUTOR HAD THE CORROBORATIVE
POLICE REPORTS AND PRIOR INCONSISTENT STATEMENTS OF THE THREE KEY
WITNESSES IN HIS FILE AND COMPOUNDED THIS MISCONDUCT BY AND
THROUGH HIS CLOSING ARGUMENT .

          28. Petitioner incorporates all prior allegations of fact as if set out fully herein . Thi s

claim is evidenced by the following additional factual allegations and legal conclusions.




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          29 . The prosecution violates due process if it casts the true facts in a false light, or if

its witnesses lie . Napue v . Illinois, 360 U .S. 264, 79 S . Ct. 1173 (1959); Giglio v . United States,

405 U .S . 150, 92 S . Ct. 763 (1972) ; United States v. Agurs, 427 U.S. 97, 103, 96 S . Ct. 2392

(1976);      Mooney v . Holohan, 394 U.S . 103, 55 S . Ct. 340 (1935) . If there is a reasonable

likelihood that the jurors or the judge relied upon the state's shading of the truth, a new trial is

required .

          30 . The prosecutor elicited false testimony from the lead detective (who had the

Brown and Bowen reports in his file) that "no evidence whatsoever" corroborated Meders's

testimony that Arnold shot the pick-up trucks, TT-900, and failed to correct false testimony to

the same effect offered by the detective during cross-examination . TT-908 ; see also HO-39 .

The jury, hearing the investigator's assertion that no evidence corroborated Meders's description

of the truck shootings, reasonably inferred that the trucks were not, in fact, shot . The police

reports directly refuted this conclusion and Boyet's testimony was demonstrably false.

          31 . The prosecutor also falsely argued in his guilt/innocence closing argument to the

jury that Creel, Arnold and, a third State witness, Harris, had given consistent and truthful

descriptions to the police from the very start of the investigation and that Meders had concocted

his defense while awaiting trial . He argued that Creel, Arnold and Harris should be believed

because they "all told the same story all the way down the line from day one ." TT-1 183 ; see also

TT-679-80 and 734-35 .




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         32 . In fact, Creel, Arnold and Harris had all dramatically changed their stories

 between the time of their first interviews and the time of their trial testimony . All gave recorded

 interviews to the police within days of the killing . 1 3

         33 . Creel and Arnold admitted at trial that they had been drinking with Meders during

the day of the shootings, but denied having taken Meders home (where Meders testified that his

handgun was retrieved by Creel and Arnold) and denied knowing Meders had the murder

weapon at the time of the killing . TT-689, 707, 708, 725, 741-42 . Both Creel and Arnold,

however, directly admitted in their taped statements that they took Meders home and later picked

him up . Remand Hearing Ex . D-l ; HT-924, 935 and 959 .

        34 . At trial, Creel claimed he did not know Meders was armed at the time they

entered the convenience store . TT-689. However, in the taped statement, Creel said the opposite

was true . HT-951 .

        35 . A third state witness, Randy Harris, offered testimony crucial to the State's case

with respect to motive and an alleged confession . Harris also provided a tip that led the police to

the murder weapon .14 The description of the purported confession by Meders was particularly

chilling and was relied upon by the Georgia Supreme Court. Meders I , 249 Ga . at 50, 389 S .E. 2d

at 321 ("After offering the other two a share of the take-which they declined-Meders left

them and drove to Harris' motel room . He woke Harris and told him he had `just blowed a

man's head off over thirty-eight dollars ."') . Harris is Arnold's first cousin . TT-736 . Meders


       13 "There is no evidence that transcripts of the initial statements of Harris, Creel and
Arnold were in the prosecution's file when it was reviewed by defense counsel, if indeed a
review took place ." HO-42-43 .
       14 Police searched Meders's home at the time of his arrest and did not find the murder
weapon . Two days later, Harris tipped the police that the weapon could be found under
Meders's waterbed and said his information came from Meders's wife, Sherry . TT-1 148-50 ;
HT-246 . Detective Boyet, at the habeas hearing, testified that he had no reason to believe that
Meders's wife had provided the information to Harris . HT-248.


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claimed that Harris framed him because he believed Meders was having an affair with his wife .

HT-851 ; Habeas Ex . 7 .

        36 . Harris, however, did not tell Detective Boyet about Meders's alleged confession

to shooting the clerk in the head when Boyet first met with Harris . HT-218-19 . When

specifically questioned at the outset of the investigation, Harris did not know where the clerk had

been shot and, instead, asked the location of the wound in his recorded interview . HT-87 . Harris

also did not mention bullets being dumped by Meders in his presence in the early statement as he

did at trial . Id . The prosecutor conceded at the habeas hearing that Harris did not mention the

head shot in his transcribed interview statement . HT-88 .

        37. These issues have been exhausted in state court .

        38 . These issues were not raised on the original direct appeal .

        39 . Petitioner raised these challenges in his first state habeas petition filed on April 2,

1993 in case number 93-V-188 . The habeas petition was granted on other grounds . A copy of

the habeas order is attached to this petition .

        40 . The Georgia Supreme Court reversed the order granting a new trial and denied

Petitioner's cross-appeal . Schofield v . Meders, 280 Ga . 865, 632 S .E .2d 369 (2006) cert. denied

sub. nom . Meders v . Schofield, 127 S .Ct. 958 (2007) .

                                              CLAIM THREE

                    FAILURE TO DISCLOSE EXCULPATORY EVIDENC E

THE PROSECUTION VIOLATED THE FIFTH AND FOURTEENTH AMENDMENTS BY
FAILING TO DISCLOSE EXCULPATORY EVIDENCE TO PETITIONER'S TRIAL
COUNSEL INCLUDING, INTER ALIA, POLICE REPORTS WHICH CORROBORATED
PETITIONER'S TESTIMONY AND SOLE DEFENSE, PRIOR INCONSISTENT
STATEMENTS OF KEY STATE WITNESSES AND THE ORAL STATEMENTS OF CREEL
AND ARNOLD MADE TO THE PROSECUTOR AND LEAD DETECTIVE IN WHICH
CREEL AND ARNOLD ADMITTED KNOWING AND FEUDING WITH TH E




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INDIVIDUALS WHOSE TRUCKS WERE SHOT DURING THE INCIDENTS DESCRIBED
IN THE POLICE REPORTS .

        41 . Petitioner incorporates all prior allegations of fact as if set out fully herein . This

claim is evidenced by the following factual allegations and legal conclusions .

       42. The prosecution has a constitutional obligation to disclose exculpatory evidence

to a criminal defendant if it is material to either guilt or to punishment . Brady v . Maryland, 373

U.S. 83, 87, 83 S .Ct. 1194 (1963) . The duty to disclose encompasses impeachment evidence as

well as exculpatory evidence.     United States v . Bagley, 473 U .S . 667, 676, 105 S .Ct. 3375

(1985) . Evidence is material if "there is a reasonable probability that, had the evidence been

disclosed to the defense, the result of the proceeding would have been different . A `reasonable

probability' is a probability sufficient to undermine confidence in the outcome ." Bagley, 473

U.S. at 682, see also Kyles v . Whitley , 514 U .S. 419, 434, 115 S .Ct. 1555 (1995) . The final

determination of materiality is based on the "suppressed evidence considered collectively, not

item by item ." Kyles, 514 U.S. at 436-37.

       43 . The jury's submission of Jury Question 5 during its guilt/innocence deliberations

establishes the materiality of the suppressed police reports of the truck shootings. The jury, by

submitting Jury Question 5, showed that it was acutely aware of the conflicting testimony about

the truck shootings and responsibly sought to determine if objective evidence of the truck

shootings existed . Meders testified that the pick-up trucks were shot by Arnold on the night of

the murder because Arnold and Creel were feuding with Keith Bowen and Robert Brown, the

owners of the trucks . TT-897-98 and 1085-87 . Creel "flatly denied" that the truck shootings

occurred. TT-708. Arnold testified that "nobody in [his] crowd shot at a truck .". TT-741 . Lead

detective Boyet testified that "no evidence whatsoever" corroborated Meders's testimony about

the truck shootings . TT-900, 908; see also HO-39 .



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        44 . In fact, as the record now clearly establishes, Meders was telling the truth about

the truck shootings . The truck shootings had occurred, there were police reports about the

shootings, the owners of the trucks were available to testify, and the jury that convicted Meders

and sentenced him to death was deprived of this corroborative evidence . The State's failure to

produce the police reports clearly "undermine[s] confidence in the outcome" of this trial and

sentencing and this habeas petition should be granted . See Bagle , 473 U .S. at 682 ; Kyles v.

Whitley, 514 U.S. 434 .

       45 . In addition to failing to produce the police reports, HO-42, the habeas court also

found, and Petitioner here asserts, that the prosecution failed to disclose :

           i) Evidence from Boyet, the lead detective, about the Brown and Bowen truck

               shootings . HO-3 1 ;

           j) Evidence about the feud between Creel and Brown . HO-31, 41 ;

           k) Creel's pretrial admission that he knew Brown . Id;

           1) Creel and Arnold's admissions that they knew Bowen . HO-31, 41, 45 ;

           m) Evidence that the food stamps could not be linked to the robbery . HO-31-32, 35 ;

           n) Evidence of a specific altercation between Creel and Brown during which Creel

               threw a railroad tie through Brown's windshield that was investigated by Boyet

               prior to Meders's trial . HO-42 . ; and

           o) Transcripts of prior inconsistent statements by Harris, Creel and Arnold . HO-42-

               43 .

       46. Prosecutor Johnson claimed that he complied with his responsibilities unde r

Brady to produce the police reports and transcripts of the prior statements of witnesses by

providing open file discovery to trial counsel Davis . HO-42 . Although there may be equivocal




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evidence as to whether the prosecutor ever provided Davis with access to his file, HO-25, the

habeas court completely rejected the prosecutor's claim to have provided the police reports to

Davis . The habeas court found that :

                 there is no evidence that the police incident reports . . . were in the
                 prosecutor's file at the time when it was reviewed by defense counsel, if
                 indeed a review took place.

HO-42 .

          47. The habeas court similarly found, and Petitioner here asserts, that :

                 [t]here is no evidence that transcripts of the initial statements of Harris,
                 Creel and Arnold were in the prosecution's file when it was reviewed by
                 defense counsel, if indeed a review took place .

HO-42-43 .

          48. Finally on this point, the habeas court found and Petitioner here asserts that th e

State did not disclose its evidence confirming the Brown feud, the verbal admissions that Creel

and Arnold knew Bowen or the fact that Boyet conducted a line-up in an investigation of Creel

for having thrown a railroad tie through Brown's windshield . See HO-41, 42 and 45 .

       49. The habeas court also found and Petitioner here asserts that his trial lawyer's file

did "not include a single note, photostatic copy of a single page or any indication whatsoever that

counsel for Meders at trial actually reviewed the prosecution's case file ." HO-45-46 .

       50 . The habeas court did not rule on Meders's claims that his constitutional rights

were violated at sentencing by the errors he has asserted because the habeas court found that he

was entitled to a new trial on guilt/innocence . The suppressed exculpatory evidence should also

have been considered at sentencing as a mitigating circumstance .

       51 . These issues have been exhausted in state court .

       52. These issues were not raised on the original direct appeal .




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         53 . Petitioner raised these challenges in his first state habeas petition filed on April 2,

 1993, in subsequent amendments, and in Petitioner's Post-Hearing Memorandum dated June 27,

 1997 at 10-14 and 21-39 . The habeas petition was granted on other grounds . A copy of the

 habeas order is attached to this petition .

         54 . The Georgia Supreme Court reversed the order granting a new trial and denied

 Petitioner's cross-appeal. Schofield v . Meders, 280 Ga . 865, 632 S .E.2d 369 (2006) cert. denied

 sub. nom. Meders v . Schofield, 127 S .Ct. 958 (2007) .

                                               CLAIM FOU R

                      INTRODUCTION OF INADMISSIBLE FOOD STAMP S

 THE PROSECUTION'S INTRODUCTION OF FOOD STAMPS FOUND IN PETITIONER'S
 POSSESSION AT THE TIME OF HIS ARREST TO LINK PETITIONER TO THE ROBBERY
 VIOLATED THE FIFTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
 CONSTITUTION BECAUSE THE PROSECUTOR'S TRIAL FILE INCLUDED A NOTE
 FROM THE LEAD DETECTIVE THAT ADVISED THE PROSECUTOR THAT THE FOOD
 STAMPS COULD NOT BE LINKED TO THE ROBBERY AND PETITIONER WAS A
 LEGAL RECIPIENT OF FOOD STAMPS.

        55 . Petitioner incorporates all prior allegations of fact as if set out fully herein . This

claim is evidenced by the following factual allegations and legal conclusions .

        56 . The habeas court found that defense counsel failed to provide constitutionally

effective assistance of counsel because counsel failed to object to the introduction of food stamps

seized from Meders . HO-3 5 . Petitioner contends that the improper introduction of the food

stamps also constitutes prosecutorial misconduct that undermines confidence in the outcome of

this matter . See Donnelly v . DeChristoforo , 416 U .S . 637 (1974) .

        57 . The prosecutor offered the food stamps as evidence despite the existence of a note

from the lead detective later found in the prosecutor's personal trial file, "Unable to trace any

food coupons to store ." Id . (emphasis in habeas order) . Further, the prosecutor argued to th e




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jury that Meders's possession of these food stamps when arrested was evidence of guilt, TT-

1204, and repeated this false assertion to justify the jury's imposition of a sentence of death . TT-

1316 . As well, the Georgia Supreme Court relied on this false evidence in upholding Meders's

conviction and sentence . Meders I , 260 Ga. at 50, 389 S .E.2d at 321 ("Seventeen food stamps

were found in the pocket of his coat .").

        58 . The prosecutor's misconduct concerning the food stamps violated Petitioner's due

process rights .

        59. These issues have been exhausted in state court.

        60 . These issues were not raised on the original direct appeal .

        61 . Petitioner raised these challenges in his first state habeas petition filed on April 2,

1993 in case number 93-V-188 . The habeas petition was granted on other grounds . A copy of

the habeas order is attached to this petition .

        62. The Georgia Supreme Court reversed the order granting a new trial and denied

Petitioner's cross-appeal . Schofield v . Meders, 280 Ga. 865, 632 S .E.2d 369 (2006) cert. denied

sub. nom . Meders v . Schofield, 127 S .Ct. 958 (2007) .

                                             CLAIM FIVE

         INTRODUCTION OF INADMISSIBLE COCAINE TRAFFICKING CHARG E

THE PROSECUTOR'S INTRODUCTION OF AN UNADJUDICATED SUMMONS FOR
COCAINE TRAFFICKING TO SUPPORT THE STATE'S THEORY OF MOTIVE
VIOLATED THE FIFTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
CONSTITUTION BECAUSE IT WAS INADMISSIBLE IN PETITIONER'S CAPITAL
TRIAL.

        63 . Petitioner incorporates all pri or al legations of fact as if set out fully herein. Thi s

claim is evidenced by the following factual allegations and legal conclusions .




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        64. The trial prosecutor was very experienced and was pitted against a 71 year old

defense counsel who tried the case without a second chair . HO-24 . The habeas court found, and

the Petitioner here asserts, that "[t]he State introduced at trial a charging document in which

Meders was charged with the sale of cocaine ." HO-33 ; see also Trial Ex . 37-42 .'5 The citation

was intentionally introduced into evidence by the prosecutor to support his proof of motive (i .e .,

that Meders committed the robbery to pay off a drug debt .) HO-33 . The introduction of the

citation undermined the fairness of Meders's trial and sentencing . HO-32 . Indeed, the State

conceded at oral argument on direct appeal that the charge could not have been properly

admitted over objection because the prosecutor had not complied with the notice requirements of

Uniform Superior Court Rule 31 .3. The untried charge also was not admissible as it was not

proof of anything, Sides v. State , 213 Ga. 482, 99 S .E .2d 884 (1957), and the state violated

Petitioner's due process rights by introducing the charge . See Donnelly v . DeChristoforo , 416

U.S . 637 (1974) . The State's misconduct created a reasonable probability that the outcome of

Meders's trial was changed and that confidence in the outcome is undermined . Id.

        65. This issue has been exhausted in state court . This issue was raised on the original

direct appeal, but the Georgia Supreme Court denied relief because trial counsel had not objected

to the introduction of the summons . 360 Ga . at 54, 389 S .E.2d at 324 ("Absent an y objection by

the defendant the court did not err by admitting the contents of the defendant's wallet in

evidence .") Meders then raised trial counsel's failure to object as part of his ineffective

assistance claim .




       15 State's Exhibit 37, the contents of Meders's wallet, also included business cards from
two attorneys, Jeffrey R. Berry and Samuel G. Oliver, and the business card of Det . G.J.
McMichael of the Glynn County Police Department . The Berry business card appears to have
rate quotes for "Bond Hearing 200, Plea 300, Jury 600" and notes "Received-200.00."


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        66 . Petitioner raised this challenge in his first state habeas petition filed on April 2,

 1993 in case number 93-V-188 . The habeas petition was granted, in part, based on this ground .

A copy of the habeas order is attached to this petition .

        67 . The Georgia Supreme Court reversed the order granting a new trial and denied

Petitioner's cross-appeal . Schofield v . Meders, 280 Ga. 865, 632 S .E .2d 369 (2006) cert. denied

sub. nom. Meders v . Schofield, 127 S .Ct. 958 (2007) .

                                            CLAIM SI X

             PROSECUTOR'S FALSE VOUCHING FOR STATE'S WITNESSE S

THE PROSECUTOR IMPERMISSIBLY AND FALSELY VOUCHED FOR THE STATE'S
WITNESSES AND THEREBY VIOLATED PETITIONER'S RIGHTS UNDER THE FIFTH
AND FOURTEENTH AMENDMENTS BY, INTER ALIA, FALSELY ARGUING THAT THE
THREE KEY WITNESSES "ALL TOLD THE SAME STORY . . . FROM DAY ONE" WHEN
THE PROSECUTOR'S TRIAL FILE CONTAINED PRIOR INCONSISTENT STATEMENTS
OF THE WITNESSES AND BY ARGUING THAT "NO EVIDENCE WHATSOEVER"
CORROBORATED MEDERS'S TESTIMONY ABOUT THE TRUCK SHOOTINGS WHEN
THE PROSECUTOR HAD THE POLICE REPORTS OF THE TRUCK SHOOTINGS IN HIS
FILE AT THE TIME OF TRIAL .

        68 . Petitioner incorporates all prior allegations of fact as if set out fully herein . This

claim is evidenced by the following factual allegations and legal conclusions .

       69 . A prosecutor's argument violates the Constitution if it renders the defendant's

trial "so fundamentally unfair as to deny him due process ." Donnelly v . DeChristoforo , 416 U.S.

637, 645, 94 S .Ct. 1868, 1872 (1974) . Improper argument by a prosecutor reaches the level of

fundamental unfairness if it is "so egregious as to create a reasonable probability that the

outcome was changed ." Brooks v . Kem , 762 F .2d 1368, 1403 (11th Cir . 1985)(en bane), vacated

on other grounds, 478 U .S . 1016, 106 S .Ct. 3325 (1986), reinstated, 809 F .2d 700 (11th Cir .(en

bane), cert. denied, 483 U.S. 1010, 107 S .Ct. 3240 (1987) . A "reasonable probability" is a




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probability sufficient to undermine confidence in the outcome . Strickland v . Washington , 466

U.S. 668, 694, 104 S .Ct. 2052, 2068 (1984) .

        70. Petitioner Meders testified that Arnold and Creel took him home and returned to

pick him up specifically to retrieve his gun that they later used to the commit murder . TT-895-

98, 1084 .

        71 . Meders testified that immediately prior to the killing, Arnold and Creel possessed

Meders's gun and used it to shoot at two pick-up trucks owned by men with whom Arnold and

Creel were feuding . TT-897-98, 1085-87 . The second truck, owned by Robert Brown, was

located near a florist on Georgia Highway 303 . TT-1086-87 ; see also HO-38 and Remand

Hearing Exhibit D-5.

        72. The jury specifically asked whether there were police reports concerning the

shooting of Brown's truck :

                 Was there any reports filed on the incident of the truck, on Ga Hwy 303,
                 reported between the day, after or between then and now, being shot at ?

HO-34; Jury Question 5, TT-1360, Court Ex . 1 . The habeas court found, and Petitioner here

asserts, that "Jury Question 5 established the importance of Meders's testimony about the

shooting at the pick-up truck near Highway 303 ." HO-38-39 .'6

        73 . The prosecutor misled the jury in his closing argument on this important point of

who possessed the murder weapon immediately prior to the killing . The prosecutor argued in his

closing to the jury that Creel, Arnold and a third State witness, Harris, had given consistent and

truthful descriptions to the police from the very start of the investigation and that Meders had

concocted his defense while awaiting trial . He argued that Creel, Arnold and Harris should be


        16 The trial court's response to these questions at trial simply instructed the jury to rely on
the evidence already introduced at trial . There was no evidence at trial introduced about the
police incident reports or the prior statements of Harris, Creel or Arnold . 1-10-37 n .1 .


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believed because they "all told the same story all the way down the line from day one ." TT-

1183; see also TT-679-80, 734-35 .

       74 . In fact, Creel, Arnold and Harris had all dramatically changed their stories from

the time of their first interviews until the time of their trial testimony . All gave recorded

interviews to the police within days of the killing ." Creel and Arnold admitted at trial that they

had been drinking with Meders during the day of the shootings, but denied having taken him

home (where Meders claimed his handgun was later retrieved when Creel and Arnold returned to

his house) and denied knowing Meders had the murder weapon . TT-689, 707, 708, 725, 741-42 .

Both, however, had directly admitted in their taped statements that they took Meders home and

later picked him up . Remand Hearing Ex . D-1 ; HT-924, 935 and 959 .

       75. At trial, Creel claimed he did not know Meders was armed at the time they

entered the convenience store . TT-689 . However, in the taped statement, Creel admitted the

opposite was true . HT-951 .

       76. Randy Harris offered testimony critical to the State's case with respect to motive

and an alleged confession. Harris also provided a tip that led the police to the murder weapon .18

The description of the purported confession by Meders was particularly chilling and was relied

upon by the Georgia Supreme Court . Meders I, 249 Ga . at 50, 389 S .E. 2d at 321 ("After offering

the other two a share of the take-which they declined-Meders left them and drove to Harris '




        17 "There is no evidence that transcripts of the initial statements of Harris, Creel and
Arnold were in the prosecution's file when it was reviewed by defense counsel, if indeed a
review took place ." HO-42-43 .
        18 Police searched Meders's home at the time of his arrest and did not find the murder
weapon. Two days later, Harris tipped the police that the weapon could be found under
Meders's waterbed an d said his information came from Meders's wife, Sherry . TT-1 148-50 and
HT-246. Boyet, at the habeas hearing, testified that he had no reason to believe that Meders's
wife had provided the information to Harris. HT-248.


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 motel room . He woke Harris and told him he had `just blowed a man's head off over thirty-eight

                  9
 dollars ."').1

          77 . Harris, however, did not tell the detectives about Meders's confession to shooting

the clerk in the head when first asked . HT-218-19 . To the contrary, when specifically questioned

at the outset of the investigation, Harris did not know where the clerk had been shot and, instead,

asked the location of the wound . HT-87-90 . Harris also did not mention bullets being dumped

by Meders in his presence in the early statement as he did at trial . Id.21

         78 . The argument that the State's witnesses had "all told the same story all the way

down the line from day one," TT-1183 ; see also TT-679-80 and 734-35, was clearly and

demonstrably false and the prosecutor, by making this improper argument, violated Petitioner

Meders's constitutional rights .

         79. The prosecutor similarly violated Meders's constitutional rights when he claimed

that "no evidence whatsoever" corroborated Meders's descriptions of the truck shootings . See

Claim Two, supra.

         80 . "The prosecutor violated the fundamental rule, known to every lawyer, that

argument is limited to the facts in evidence ." United States ex . rel Shaw v . De Robertis , 755 F .2d

1279 (7th Cir. 1985), citing United States v . Fearns, 501 F .2d 486, 489 (7`, Cir . 1974) .

Cumulatively, this "series of remarks, in the context of [the] trial, rendered the entire trial

unfair ." Davis v . Zant , 36 F.3d 1538, 1546 (11th Cir . 1994) (granting relief where misconduct

consisted of intentional misrepresentation both highly misleading to the jury and prejudicial to

the petitioner) . "[I]mproper suggestions, insinuations, and especially, assertions of persona l


        19 Harris is A rnold's first cousin . TT-736 . Meders claimed that Harris fr amed him
because he believed Meders was having an affair with his wife . HT-85 1, Ex. 7 .
        20 Prosecutor Johnson conceded this point, that Har ri s did not mention the head shot in
his transcribed statement, at the habeas hea ring HT-88 .


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knowledge, are apt to carry much weight against the accused when they should properly carry

none." Berger v . United States, 295 U .S. 78, 296 U.S . 629 (1935) .

        81 . This issue has been exhausted in state court .

        82. This issue was not raised on the original direct appeal .

        83. Petitioner raised this challenge in his first state habeas petition filed on April 2,

1993 in case number 93-V-188 . The habeas petition was granted on other grounds . A copy of

the habeas order is attached to this petition .

        84. The Georgia Supreme Court reversed the order granting a new trial and denied

Petitioner' s cross-appeal . Schofield v .Meders, 280 Ga. 865, 632 S .E.2d 369 (2006) cert. denied

sub. nom . Meders v . Schofield, 127 S .Ct. 958 (2007) .

                                            CLAIM SEVEN

                     IMPROPER CLOSING ARGUMENT AT SENTENCING

PETITIONER WAS DENIED HIS FIFTH AND FOURTEENTH AMENDMENT RIGHTS TO
A FAIR TRIAL AND RELIABLE SENTENCING DETERMINATION BY THE
PROSECUTOR'S CLOSING ARGUMENT DURING THE SENTENCING PHASE WHICH,
INTER ALIA, PLAYED TO THE PASSIONS, FEARS AND RELIGIOUS BELIEFS OF THE
JURY, MISSTATED THE EVIDENCE, EXPRESSED HIS PERSONAL OPINION IN AN
INFLAMMATORY MANNER, MISSTATED THE LAW CONCERNING BURDEN OF
PROOF, ENCOURAGED THE JURY TO IGNORE PROPER AREAS OF MITIGATION,
DENIGRATED PETITIONER'S PROCEDURAL RIGHTS, AND IMPROPERLY
DIMINISHED THE JURY'S MORAL RESPONSIBILITY IN IMPOSING THE DEATH
PENALTY BY ARGUING THE AGGRAVATING FACTORS TO JUSTIFY THE DEATH
SENTENCE HAD BEEN FULLY PROVEN IN THE PROCESS OF FINDING PETITIONER
GUILTY .

        85 . Petitioner incorporates all prior allegations of fact as if set out fully herein. This

claim is evidenced by the following factual allegations and legal conclusions .

        86 . Petitioner's rights to due process and a fair and reliable sentencing proceeding

were violated by the improper and prejudicial argument of the prosecutor in his openin g




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statement and closing argument during the sentencing phase of Petitioner's trial, in contravention

of the Fifth, Sixth, Eighth, and Fourteenth Amendments to the United States constitution .

        87. The prosecutor improperly played to religious themes that undermined the jury's

responsibility to choose between life and death for Jimmy Meders when he argued to the jury :

        Certain laws have been constant, for five-six-seven thousand years they have been
        constant, and there is one law against murder . The penalty for that has also been
        constant for that same seven thousand years . The penalty for taking someone's
        life, for murdering that person, has a long time ago been to take that defendant out
        beyond the gates of the city and stone him to death, take his life, punish him .

TT-1309 ; see also TT-1315 ("eye for an eye and a tooth for a tooth") .

        88 . The prosecutor continued his effort to diminish the jury' s responsibility when he

further argued :

       I submit to you this, ladies and gentlemen, that you have already in this case
       found the defendant beyond a reasonable doubt to have committed a statutory
       aggravating circumstance . In order to find him guilty of murder and armed
       robbery you had to find him guilty beyond a reasonable doubt of those two
       offenses, and so, you have already made that decision, and when you go back into
       that jury room and consider this case again from the sentencing standpoint, you
       can again come to that same conclusion . . . .

TT-1315-16 .

        89.        The prosecutor improperly commented on Petitioner's due process rights ,

claiming he afforded none to the victim :

       [The victim], his life had a value . Don Anderson had a right to live, and that was
       a valuable right to Don Anderson that was taken away from him without the
       benefit of all of this that we have gone through for the last five days . It was taken
       away in an i nstant on October 14, 1987, by Jimmy Fletcher Meders . He didn't
       have due process . He didn't have a judge to sit up there and decide which way
       decisions were going to be made under the law . He didn't have a defense
       attorney . He didn't have a prosecutor . Jimmy Fletcher Meders did all of that on
       his own for his own reasons that day .

TT-1314 .




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        90 . The prosecutor argued that Petitioner had to be sentenced to death to avoid his

killing again. TT-1317 ("You didn't put much value on that life, and we are going to stop you

right here, right today from ever doing it again to anybody else, and we are going to punish you

                           .,,)2 1
today for what you did

         91 . These arguments were improper not only for their directive that jurors had an

obligation to give death as the "conscience of the community," Rideau v . Louisian a, 373 U .S.

723, 83 S . Ct. 1417 (1963) ; Irvin v . Dowd , 366 U .S . 717, 81 S . Ct. 1639 (1961), but also because

the arguments lessened jurors' responsibility for sending Petitioner Meders to death . Caldwell v .

Mississippi, 472 U .S. 320, 105 S .Ct. 2633 (1985) .

         92 . Taken as a whole, the improper arguments rendered Mr . Meders's sentencing

phase fundamentally unfair .         Brooks y, Kemp , 762 F .2d 1383 (11th Cir. 1985) (en banc) ;

Donnelly v . DeChristoforo . 416 U .S. 637, 645, 94 S .Ct. 1868, 1872 (1974) ; Romine v. Head, 253

F .3d 1349 (11th Cir . 2001) . There is a reasonable probability that the arguments led the jury to a

death sentence .

         93 . These issues have been exhausted in state court.

         94 . A portion of these issues was raised on the original direct appeal and the court

ruled on the merits despite trial counsel's failure to object . See Meders I, 260 Ga. at 54, 389

S .E.2d at 324 ("The defendant did not object at trial to the prosecutor's closing argument and,

having reviewed the complaints he now makes on appeal, we conclude the prosecutor's

arguments did not result in the death sentence being imposed under the influence of passion,

prejudice, or other arbitrary factor . . . .").




         21 Trial counsel did not object to any of the prosecutor's improper argument .


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         95 . Petitioner raised this issue and the claim that counsel was ineffective in failing to

object in his first state habeas petition filed on April 2, 1993 in case number 93 -V-188 . The

habeas petition was granted on other g rounds. A copy of the habeas order is attached to this

petition .

         96. The Georgia Supreme Court reversed the order granting a new trial and denied

Petitioner 's cross-appeal . Schofield v. Meders, 280 Ga. 865 , 632 S .E.2d 369 (2006 ) cert. denied

sub. nom. Meders v . Schofield , 127 S .Ct. 958 (2007) .

                                            CLAIM EIGHT

                 GLYNN COUNTY JURY SYSTEM IS UNCONSTITUTIONA L

PETITIONER WAS DENIED HIS RIGHT TO EQUAL PROTECTION IN VIOLATION OF
THE FIFTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
CONSTITUTION BY THE PROCEDURE USED TO SELECT GRAND AND TRAVERSE
JURY ARRAYS IN GLYNN COUNTY TO FORCE RACIAL REPRESENTATIVENESS BY
DELIBERATELY AND SYSTEMATICALLY REMOVING ALL WHITE JURORS ONCE
THE ARRAY REACHED A PREDETERMINED PERCENTAGE OF WHITE JURORS .

         97. Petitioner incorporates all prior allegations of fact as if set out fully herein . This

claim is evidenced by the following factual allegations and legal conclusions .

         98. Prior to trial, Petitioner's trial attorney filed a "Motion to Quash the Indictment ."

The trial court conducted an evidentiary hearing on this motion on March 9, 1989 . At that

hearing, the evidence showed that a new plan for the selection of jurors in Glynn County was

adopted by the Superior Court Judges on November 11, 1981 . Defendant's Hearing Exhibit 1 ;

Transcript of proceedings March 9, 1989 at 17-18, 108 (hereinafter "JCH-" followed by the

relevant page number) . The testimony showed that in 1986, Glynn County purchased a new

computer system manufactured by Unisys . JCH-7-8 . At the time the new system was installed,

the installation included a software change so that a racial criterion was employed . This software

modification forced a representation on each array that was a specific percentage white and a



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speci fic percentage African- American. Lynn Douglas, the individual in the Glynn County

Clerk' s Office who helped monitor the new system, testified that once the new system w as in

place , the computer operator would specify the number of jurors needed for the array and the

computer would calculate the number of each race to re flect the proportion of that race in the

grand or petit jury list as a whole . JCH-72-74 ; see also testimony of Glynn County Systems

Analyst Darwin Ikard . JCH-36-37 . In order to do this , the computer program would monitor the

selection process as to each array . Once that selection process reached the percentage of whites

in the grand or traverse jury lists as a whole , if a white juror were randomly selected by the

program for inclusion in the array , the program would automatically reject that white juror and

return him or her to the gr an d or traverse jury list , and continue with that procedure until an

African- Americ an juror was selected, who would be accepted and placed on the array . JCH-72-

73 ; 37. Additionally , the computer program would treat all persons who listed their race as

"other" i.e., not white or A fr ican-Americ an) as if they were A frican-American when it was

employing this systematic procedure to force a racial balance in the jury arrays. JCH-74-75 .

        99. The mandate of the Fifth Amendment that "race discrimination be eliminated

from all official acts and proceedings of the [federal government ] is most compelling in the

judicial system ." Powers v . Ohio, 499 U .S . 400 , 415, 111 S .Ct. 1364 ( 1991) . The traditional test

for an equal protection violation is the three -part test set out by the Supreme Court in Castenada

v. Partida, 430 U .S . 482 , 494, 97 S .Ct. 1272 (1977) .     However , as reco gnized by the Sixth

Circuit in United States v . Ovalle , 136 F .3d 1092, 1104 (6th 1998 ), "if there is no doubt that

racial factors were the primary reason for excluding potential jurors , there would be not need to

utilize the traditional three-prong approach ; a court could simply look to the direct evidence of

exclusion based on race ."




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        100.    Ovalle involved a jury procedure designed to force racial representativeness that

is indistinguishable from the procedure used by Glynn County at the time of Meders's indictment

and jury trial. In Ovalle , the judges for the United States District Court for Eastern District of

Michigan had approved a new Jury Selection Plan in 1992 . The Plan included the following

"subtraction" method of balancing to ensure proportional representation of different cognizable

groups in the community, which provided that :

           [t]he qualified jury wheel shall be composed of persons who represent a fair
           cross-section of the area of each place of holding court as set forth in Section
           III of this Plan . To this end, if the Court determines that a cognizable group of
           persons is substantially overrepresented in the qualified jury wheel, the Chief
           Judge shall order the Clerk to remove randomly a specific number of names so
           that the population of each cognizable group in the qualified wheel closely
           approximates the percentage of the population of each group in the area of
           each place of holding court, according to the most recently published national
           census report.

136 F .3d at 1095 .

        101 . Analyzing this procedure under the equal protection clause of the Fifth

Amendment, the court concluded that :

           [W]hen race is the predominant factor in excluding certain individuals from the
          jury wheel there must be a compelling governmental interest for such action
          and the means chosen must be narrowly tailored to meet that interest .

Id. at 1105 . Applying this standard to the jury selection procedure before it, the court concluded :

          The implementation of the jury selection plan is clearly not race neutral .
          Individuals were eliminated from consideration for jury service on the basis of
          their race . Any non-African-American had a chance of being eliminated from
          the jury wheel solely based on race . . . . Excluding non-African-Americans in
          this manner discriminates against potential jurors solely because of their racial
          status .

Id. While fmding that the government has a compelling interest in ensuring that jury pools

represent a fair cross section of the community, id . at 1105-06, the court went on to conclude that

the Jury Plan was not narrowly tailored to meet this end, based on its finding that one in fiv e



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white or "other" jurors eliminated from the qualified jury wheel to ensure racial

representativeness did not have "the same opportunity to serve as did the African-American

members of the wheel who were protected from elimination" and its additional finding that "the

plan does not even attempt to assure that Hispanics or any other cognizable group except

African-Americans are appropriately represented on the jury wheel ." Id. at 1106 . The court goes

on to conclude :

           The problem is the removal of persons from the jury wheel solely on the basis
           of race . Rather than affirmatively removing otherwise qualified jurors because
           of their racial status, alternative methods of broadening membership in the jury
           pool could have been utilized . The Eastern District of Michigan could have
           chosen to supplement the voters' list and drivers' list to diversify the pool of
           potential jurors . Such measures can establish a jury pool that represents a fair
           cross section of the community without unconstitutionally discriminating
           against individuals by eliminating them from the jury wheel on the basis of
           their racial status .
Id.

        102 . That is precisely what happened in the jury selection procedures employed by

Glynn County . Whenever the percentage of white jurors reached the percentage of white jurors

on either the grand jury list or the traverse jury list while a particular jury array was being

selected for either purpose, the computer software would automatically reject any white jurors

that were selected, thereby eliminating them from jury service solely on the basis of their racial

status . The only apparent difference in the procedures used in Ovalle from those used in Glynn

County was that the former treated all non-African-Americans as whites, while Glynn County

treated all jurors identified as "other" as if they were African-American .

        103 . Because the Glynn County jury selection procedure explicitly and purposefully

eliminated jurors solely on the basis of their racial status, even assuming that the goal of ensuring

racial representativeness was a compelling state interest, the procedure employed by Glynn

County was not narrowly tailored to meet this end . As a consequence, the grand jury array fro m



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which the grand jury which indicted Petitioner Meders was selected and the traverse jury array

from which the petit jury which convicted Meders was selected were chosen by a procedure

which violated his right to equal protection as guaranteed by the Fifth and Fourteenth

Amendments to the United States Constitution .

          104 . These issues have been exhausted in state court .

          105 . These issues were raised in part on the original direct appeal and Petitioner sought

funds to retain a necessary expert so he could litigate this claim on remand, but the request was

denied.

          106 . Petitioner raised the remaining portion of these challenges in his first state habeas

petition filed on April 2, 1993 in case number 93-V-188 . The habeas petition was granted on

other grounds . A copy of the habeas order is attached to this petition .

          107 . The Georgia Supreme Court reversed the order granting a new trial and denied

Petitioner's cross-appeal . Schofield v . Meders, 280 Ga. 865, 632 S .E.2d 369 (2006) cert. denied

sub. nom . Meders v. Schofield , 127 S .Ct. 958 (2007).

                                              CLAIM NINE

              PROSECUTOR'S FAILURE TO REVEAL DEALS WITH WITNESSE S

THE PROSECUTOR'S FAILURE TO REVEAL DEALS VIOLATED PETITIONER'S
RIGHTS UNDER THE FIFTH AND FOURTEENTH AMENDMENTS BECAUSE THOSE
DEALS INCLUDED, INTER ALIA, DEALS WITH THE STATE'S TWO EYEWITNESSES
TO THE KILLING WHERE BOTH MEN ADMITTED BEING PRESENT WHEN THE
ROBBERY AND KILLING OCCURRED BUT WERE NOT PROSECUTED IN RETURN
FOR THEIR TESTIMONY AGAINST PETITIONER. A THIRD STATE WITNESS WAS
GRANTED A DEAL WITH RESPECT TO HIS ASSAULT OF PETITIONER'S BROTHER .

          108 . Petitioner incorporates all prior allegations of fact and conclusions of law as if set

out fully herein . This claim is evidenced by the following factual allegations and legal

conclusions.




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        109. The State has a constitutional duty to reveal plea agreements with its witnesses

and a failure to do so violates a defendant's constitutional rights . Giglio v . United States , 405

U.S. 150, 92 S . Ct. 763 (1972) .

        110 . Here, though admittedly present at the time of the killing, Creel and Arnold were

never prosecuted for anything, presumably pursuant to deals made in return for their testimony .

The failure to reveal these deals violated Petitioner's constitutional rights .

        111 . Stacy Meders, Petitioner's brother, was assaulted by Randy Harris, a key state

witness, on January 5, 1988 . HT-156-57 . The charge was pending against Harris at the time of

Petitioner's trial . According to Stacy Meders, the prosecutor, John Johnson, appeared in court at

the time of Harris's trial, spoke to the judge in chambers and Harris, a multiple offender, was

sentenced to 150 hours of community service and a $50 .00 fine . See HT-273-74 . Johnson

testified at the habeas hearing but could not recollect interceding on Harris's behalf. HT-162-63 .

        112 . Creel and Arnold, and Creel's mother, were all charged with felonies stemming

from an aggravated assault that occurred on July 23, 1988, about nine months before Creel and

Arnold testified at Meders's trial . Habeas Exhibit 34 . All charges against Creel and Arnold

were dismissed on May 23, 1991, two years after the Meders's trial . HT-135 . Creel's mother

was purportedly placed in a diversion program conditioned on her paying restitution. Although

restitution was not paid, she suffered no consequence . HT 581 and 593-94 .

        113 . This issue has been exhausted in state court .

        114 . This issue was not raised on the original direct appeal .

        115 . Petitioner raised this challenge in his first state habeas petition filed on April 2,

1993 in case number 93-V-188 . The habeas petition was granted on other grounds . A copy of

the habeas order is attached to this petition .




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        116 . The Georgia Supreme Court reversed the order granting a new trial and denied

Petitioner's cross -appeal . Schofield v. Medea 280 Ga . 865, 632 S .E.2d 369 (2006) cert. denied

sub , nom. Meders v . Schofield , 127 S .Ct. 958 (2007) .

                                            CLAIM TEN

                     INTRODUCTION OF PETITIONER'S STATEMENT S

PETITIONER'S RIGHTS UNDER THE FIFTH, SIXTH AND FOURTEENTH
AMENDMENTS WERE VIOLATED BY THE IMPROPER INTRODUCTION OF IN
CUSTODY STATEMENTS MADE BY PETITIONER BECAUSE THERE WAS NO
SHOWING THAT PETITIONER KNOWINGLY AND VOLUNTARILY WAIVED HIS
RIGHT TO REMAIN SILENT OR RIGHT TO COUNSEL .

        117 . Petitioner incorporates all prior allegations of fact as if set out fully herein . This

claim is evidenced by the following factual allegations and legal conclusions .

        118 . Petitioner's constitutional rights were violated by the introduction at trial of

involuntary statements made while Petitioner was in custody in violation of the Fifth, Sixth,

Eighth and Fourteenth Amendments to the United States Constitution . Petitioner also gave a

statement while represented by counsel without waiving his Sixth Amendment right to counsel .

        119 . Numerous officers encountered Petitioner Meders at his home on the morning

after the killing . The officers were armed and an Agent Harrell read Petitioner his Miranda

rights. TT-840-41 . Meders was then interrogated by police while in custody . Meders gave a

statement that was introduced against him at trial . Meders was questioned further at the police

station and provided additional statements which were introduced against him at trial . During

the times of his interrogations, Meders was within the "dull normal range of intelligence," HT-

314, and had clear brain damage . HT-315 . Any statements made by Petitioner Meders,

therefore, were involuntary, unknowing and unintelligently given, and each was tainted fruit of

the statement which proceeded it . Any alleged waivers of rights by Meders during the period o f




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these interrogations were invalid because of Meders's mental state .22 Miranda v. Arizona , 384

U.S . 436, 86 S .Ct. 1602 (1966) ; Jurek v. Estelle , 593 F .2d 672 (5 ' Cir . 1979) .

        120 . While incarcerated awaiting trial and represented by counsel, Petitioner Meders

contacted Detective Boyet and gave a statement to him on November 14, 1988 . The statement

was introduced at trial . TT-857-59 . Meders's counsel did not know that his client was being

interviewed by Boyet . Boyet did not obtain a specific waiver of Meders's right to counsel . Id.

        121 . Meders attempted suicide while in custody on November 11, 1988 and had been

placed on Elavil shortly before he spoke with Boyet . HT-302 . According to Dr. Dickinson, the

newly started treatment with Elavil, "would likely cause a person to be somewhat impulsive, to

act without sufficient deliberation . Add that to someone [being] suicidal and not caring . . . it is

quite likely the two interacting [affected Meders's] judgment ." HT-307 .23 Meders's statement

of November 11, 1988 was involuntary and his waiver of his constitutional rights to remain silent

and to counsel were not knowingly and voluntarily made .

        122 . This issue has been exhausted in state court .

        123 . This issue was raised in part on the original direct appeal and on remand .

        124 . Petitioner raised the remaining portion of this challenge in his first state habeas

petition filed on April 2, 1993 in case number 93-V-188 . The habeas petition was granted on

other grounds. A copy of the habeas order is attached to this petition .




        22 Many people with mental retardation surrender critical rights because they cannot
understand what it means to have a right, much less what it means to waive it . See James W .
Ellis & Rugh A . Luckasson, Mentally Retarded Criminal Defendants, 53 Geo. Wash . L. Rev .
414, 448 (1985) . See also S . Simpson, Confessions and the Mentally Retarded Capital
Defendant : Cheating to Lose , 6 Capital Defense Digest 30 (1984) .
         23 Davis did not introduce any evidence on this point in an effort to suppress Meders's
pretrial statements. Meders was denied funds at the time of the remand hearing and, therefore,
could not introduce this evidence .


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         125 . The Georgia Supreme Court reversed the order gr anting a new trial and denied

Petitioner's cross-appe al . Schofield v . Meders, 280 Ga. 865, 632 S .E.2d 369 (2006) cert. denied

sub . nom. Meders v . Schofield, 127 S . Ct. 958 (2007).

                                         CLAIM ELEVEN

                       FAILURE TO CONDUCT COMPETENCY HEARIN G

THE TRIAL COURT'S FAILURE TO CONDUCT A COMPETENCY HEARING VIOLATED
PETITIONER'S RIGHTS UNDER THE FIFTH AND FOURTEENTH AMENDMENTS
WHEN THE TRIAL COURT HAD ORDERED A COMPETENCY EVALUATION BECAUSE
PRIOR TO TRIAL PETITIONER HAD SUFFERED A NERVOUS BREAKDOWN,
ATTEMPTED SUICIDE, AND HAD DIFFICULTY ASSISTING TRIAL COUNSEL, YET
THE COURT DID NOT HOLD A HEARING ON PETITIONER'S COMPETENCY .

         126. Petitioner incorporates all prior allegations of fact as if set out fully herein . This

claim is evidenced by the following factual allegations and legal conclusions .

         127 . Competency is a constitutional requirement .      Dusky v . United States, 362 U .S .

402, 80 S . Ct . 788 (1960) . The requirement that a defendant be competent at his trial is so basic

that it may not be waived . Adams v . Wainwright , 764 F. 2d 1356, 1359 (11th Cir 1985) citing

Zapata v. Estelle , 588 F.2d 1017, 1021 (5th Cir . 1979) ; Nathaniel v . Estelle, 493 F . 2d 794, 798

(5d' Cir. 1974) ; and Bruce v. Estelle , 483 F.2d 1031, 1037 (5t' Cir. 1973) . "The [United States

Supreme Court] held in Pate that . . . when evidence was presented indicating incompetency

during the trial, there was a duty on the trial judge to inquire into the insussue of competency and

hold a hearing on the issue ." Baker v . State , 250 Ga. 187, 297 SE 2d 9, 12 (1982) . Also, "[t]he

constitutional guarantees require the trial court to inquire into competency, even where state

procedures for raising competency are not followed, if evidence of incompetence comes to the

court' s attention ." Id . at 13.

         128 . Evidence introduced duri ng a hearing held on March 1, 1989 conce rning

Meders's nervous breakdown and suicide attempt on November 11, 1988 and his difficulty



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understanding the proceedings resulted in an order that Meders be evaluated for competence.

Hearing of March 1, 1989 at 19-24, 32 . Meders testified that he did "not really" understand what

was going on in the courtroom at the time of the hearing . Id. at 23 . His ability to distinguish

right from wrong at the time of the March 1, 1989 hearing was incomplete and dependent upon

the circumstances presented . Id. at 24 . Finally, Meders testified about having hallucinations, "a

little." Id .

          129 . Trial lawyer Davis, however, had not received a copy of the evaluation report and

did not know whether Meders was competent at the time the trial began . The habeas court

found, and Petitioner here asserts, that :

                  After the jury was chosen, placed under sequestration and transported to
         the hotel prior to the beginning of the trial the next morning, Judge Tuten inquired
         as to whether there were any additional pending motions to be heard . Trial Tr at
         624. Mr . Davis responded : . . . "there was a motion to have a psychiatrist
         appointed and . . .1 haven't heard anything further f r o m it . . ." Trial Transcript at
         625 . Both Judge Tuten and Prosecutor John Johnson were aware that a
         psychiatrist had been appointed, had rendered a report and John Johnson offered
         to "runoff' a copy of the report for Mr .Davis . Trial Transcript at 625 .
                  Having been ignorant of the report's existence, and on the eve of his
         client' s death penalty trial beginning at 9 :30 the next morning , Mr. Davis then
         stated : "Well, I would just like to ask Mr . Johnson, it would serve, serve my
         purpose to just, if he would state in his place, does the copy state, or does the
         report rather, state that the defendant is compis mentis, that he is, that is able to
          stand trial ." Trial Transcript at 626 .

HO-25 (emphasis in Habeas Order) .

          130 . The foregoing is the sum total of the trial court's analysis of Meders's ability to

understand the proceedings against him and fully participate in his death penalty trial . Putting

aside the doubtful validity of any waiver of a competency hearing, none was sought and none

provided by Petitioner Meders . The trial court, having found sufficient cause to order a

competency evaluation, utterly failed to meet its responsibility to make a judicial determinatio n




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of Meders' s competence consistent with Pate.       Instead, the trial court simply relied upon the

paper repo rt of a state psychiatrist, who was not even identified in the record of this matter.

        131 . This issue has been exhausted in state cou rt.

        132. This issue was raised on the original direct appeal and preserved as part of the

habeas proceeding .

                                         CLAIM TWELVE

                REFUSAL TO APPOINT MENTAL HEALTH EXPERT AT TRIA L

THE TRIAL COURT'S REFUSAL TO APPOINT A MENTAL HEALTH EXPERT TO
ASSIST THE DEFENSE AT TRIAL VIOLATED PETITIONER'S RIGHTS UNDER THE
FIFTH, SIXTH AND FOURTEENTH AMENDMENTS IN LIGHT OF PETITIONER'S
MENTAL CONDITION, LIMITED INTELLIGENCE, HISTORY OF DRUG AND ALCOHOL
ABUSE, INTOXICATION ON THE NIGHT OF THE CRIME, AND NERVOUS
BREAKDOWN, ATTEMPTED SUICIDE AND INABILITY TO ASSIST COUNSEL PRIOR
TO TRIAL, ALL OF WHICH WERE RELEVANT TO PETITIONER'S COMPETENCY AND
TO MITIGATION OF SENTENCE .

        133 . Petitioner incorporates all prior allegations of fact and conclusions of law as if set

out fully herein . This claim is evidenced by the following factual allegations and legal

conclusions .

        134 . Meders's trial counsel made a request for a psychiatrist to obtain a diagnosis of

Meders's psychiatric condition . Hearing of March 1, 1989 at 26 . Presumably, if a private

psychiatrist had been appointed, or funds allotted therefor, a competent psychiatrist would have

found evidence and reached conclusions similar to the evidence found and conclusions reached

by Dr . Dickinson . Dr . Dickinson's testimony would have been relevant to the admissibility of

Petitioner's statements, the question of guilt and innocence and the sentence imposed .

        135. Specifically, Dickinson testified at the habeas hearing that Meders is a first

offender, HT-229, that he is only within the "dull normal range of intelligence," HT-314, and

that he clearly has brain damage . HT-315 . Meders has a history of brain injuries, has a very lo w



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educational level, has been exposed to toxic substances that affected his neurological functions,

has a long history of poly-substance abuse, and suffers from depression . HT-308-12. All of this

information is relevant to sentencing and would have also been relevant to guilt/innocence as Dr .

Dickinson concluded that Meders "would unlikely be able to fabricate [a complex story] and to

maintain that fabrication with any degree of consistency during interviews or interrogation,"

HT-325 . Given that Meders was consistent during his interrogation by Sgt . Boyet, his interview

by the state's mental health experts and during his testimony at trial, Dr . Dickinson's conclusions

lend credibility to Meders's trial testimony . Dr. Dickinson's testimony was also relevant to

determining the voluntariness of Meders's statements to the police .

        136 . As an indigent defendant, Petitioner Meders was entitled to services other than

counsel and his constitutional rights were violated by the trial court's refusal to appoint a private

psychiatrist . See Ake v. Oklahoma, 470 U .S. 68, 105 S .Ct. 1087 (1985).

        137 . This issue has been exhausted in state court .

        138 .   This issue was raised on the original direct appeal and preserved at the habeas

proceeding .

                                        CLAIM THIRTEEN

                                IMPROPER JURY INSTRUCTION

THE TRIAL COURT'S IMPROPER JURY INSTRUCTION VIOLATED PETITIONER'S
RIGHTS UNDER THE FIFTH AND FOURTEENTH AMENDMENTS BY ERRONEOUSLY
INSTRUCTING THE JURY THEY MUST DISREGARD THE ENTIRE TESTIMONY OF
ANY WITNESS WHO HAD BEEN IMPEACHED AT A TRIAL AT WHICH WHEN
PETITIONER WAS THE ONLY WITNESS WHOSE TESTIMONY HAD BEEN
IMPEACHED.

        139 . Petitioner incorporates all prior allegations of fact as if set out fully herein . Thi s

claim is evidenced by the following factual allegations and legal conclusions.




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          140 . The trial court instructed the jury that it if a witness has been impeached, it is the

jury's "duty to disregard that testimony entirely unless such testimony in corroborated by

circumstances or by other unimpeached evidence ." TT-1228 and 1252 . No state witness was

impeached by the defense .

          141 . The court's instruction unconstitutionally amounted to a comment on the evidence

and improperly shifted the burden of proof to the defense . The instruction should have been the

subject of objection, but was not. Nonetheless, the instruction violated Petitioner's constitutional

rights.

          142 . This issue has been exhausted in state court .

          143 . This issue was raised at the habeas proceeding which was granted on other

grounds .

                                         CLAIM FOURTEEN

                               DENIAL OF EXPERTS AT REMAN D

PETITIONER'S CASE WAS REMANDED TO THE TRIAL COURT FOR A HEARING ON
THE EFFECTIVE ASSISTANCE OF TRIAL COUNSEL . THE REMAND WAS PART OF
THE DIRECT APPEAL AND PETITIONER WAS, THUS, ENTITLED TO THE EFFECTIVE
ASSISTANCE OF COUNSEL IN THE REMAND PROCEEDINGS . PETITIONER, WHO
WAS INDIGENT, SOUGHT FUNDS AT THE TIME OF REMAND TO RETAIN EXPERTS
AND THOSE REQUESTS FOR FUNDS WERE DENIED WITHOUT EXPLANATION AND
IN VIOLATION OF PETITIONER'S RIGHT TO COUNSEL AS PROTECTED BY THE
SIXTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION .

          144. Petitioner incorporates all prior allegations of fact and conclusions of law as if set

out fully herein. This claim is evidenced by the following factual allegations and legal

conclusions.

          145 . Meders was entitled to the effective assistance of counsel on his first appeal,

which was an appeal as of right .      Evitts v . Lucey , 469 U .S . 387 , 105 S .Ct. 830 (1985) . The

remand hearing in this matter occurred as part of the first appeal . The Georgia Supreme Court,



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in fact, retained jurisdiction to review Meder's sentence on appeal until after the remand hearing

was completed. Meders I, 260 Ga . at 55 ; 389 S .E. 2d at 325 . Counsel was also appointed for the

rem and proceeding . Id.

        146. Petitioner Meders made a request for funds for expert assistance as part of his

litigation of the remand issue which was a part of the direct appeal . A request for expert funds

must be granted where the defendant has shown that there exists a reasonable probability that an

expert would be of assistance to the defense and that denial of expert assistance would result in a

fundamentally unfair trial, or in this matter, direct appeal . See Moore v . Kemp , 809 F .2d 702 (11

Cir. 1987), cert. denied 481 U .S . 1054, 107 S.Ct. 2192 (1987) see also Ake v . Oklahoma . 470

U.S. 68, 105 S .Ct. 1087 (1985) . The remand court's denial of funds for experts violated

Petitioner's right to a fair proceeding . See Panetti v . Quarterman,   U.S._, 2007 WL 1836653

(Decided June 28, 2007) .

        147. On remand, Petitioner Meders was prepared to challenge the effective assistance

of counsel he received before and during trial through the introduction of expert testimony .

Petitioner moved for funds and submitted detailed affidavits and made offers of proof to justify

the retention of Dr . Dickinson, a forensic psychologist, who later testified at the habeas hearing

and provided evidence relevant to pretrial issues concerning suppression and competence, trial

issues and sentencing issues . Petitioner was prevented from challenging trial counsel Davis's

failure to obtain the services of a forensic psychologist assigned to the defense by the remand

court's refusal to make funds available to this indigent Defendant in violation of his

constitutional rights.

        148. Petitioner also moved for funds and submitted detailed affidavits and made offers

of proof to justify the retention of Helen Ridley, PhD ., a political scientist ready to offer expert




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testimony concerning the unconstitutional method by which the grand and petit juries were

selected in this matter . The right of defendant to a grand jury and a trial jury chosen by a jury

selection system which represents a fair cross-section of the community is a fundamental Sixth

and Fourteenth Amendment right . Taylor v. Louisiana, 419 U .S . 522, 95 S .Ct. 692, 42 (1975) ;

Duren v . Missouri , 439 U .S . 357, 99 S .Ct. 664, (1979) . Potential venire members must also not

be excluded based on their race in violation of equal protection rights . United States v . Ovalle,

136 F . 3d 1092, 1107 (6th Cir . 1998) . See Claim Eight, supra . Petitioner was prevented from

challenging Davis's failure to obtain the services of a jury formation expert like Dr . Ridley by

the remand court's refusal to make funds available to this indigent defendant in violation of his

constitutional rights .

        149 . Finally, Petitioner moved for funds and submitted detailed affidavits and made

offers of proof to justify the retention of John Ossick, Esq ., an experienced criminal defense

lawyer ready to offer expert testimony concerning the ways in which Davis provided ineffective

assistance to Petitioner Meders at trial . Meders was prevented from challenging Davis's failures

to provide competent legal assistance by the remand court's refusal to make funds available to

this indigent defendant in violation of his constitutional rights . The need for Mr. Ossick's

testimony was made more acute by the unavailability of Meders's trial lawyer at the time of the

remand hearing .

        150 . This issue has been exhausted in state court .

         151 . This issue was raised on the direct appeal from the remand order and preserved at

the habeas proceeding .




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                                            CLAIM FIFTEEN

                           CONSTITUTIONALITY OF O .C.G.A. & 17-10-3 0

THE CAPITAL SENTENCING PROVISIONS IN GEORGIA LAW, O .C.G.A. § 17-10-30,
VIOLATE THE EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
CONSTITUTION BECAUSE THEY UNREASONABLY FAIL TO DEFINE MITIGATING
CIRCUMSTANCES, ALLOW AGGRAVATING CIRCUMSTANCES TO BE APPLIED
ARBITRARILY, AND AUTOMATICALLY DEATH-QUALIFY DEFENDANTS WHO ARE
CONVICTED OF CERTAIN OFFENSES .

           152. Petitioner incorporates all prior allegations of fact and conclusions of law as if se t

out fully herein .

           153 . As referenced supra in Claim Seven , Petitioner was automatically eligible for the

death penalty simply by his conviction for malice murder and armed robbery as proof of the

elements of these crime automatically also provide statutory aggravating circumstances under the

Georgia statute . The jury was not required to make any fu rther findings to justify Petitioner's

death sentence thus avoiding the constitutionally required guided consideration of the propriety

of a sentence of death. In effect, O.C .G.A. § 17-10-30 undermines the purpose and need for a

bifurcated trial for defend ants convicted of malice murder and a robbery offense in violation of

the United States Constitution . The statute also does not define for the jury 's benefit mitigating

circumstances and allows for the arbitrary application of aggravating circumstances .

           154 .   This issue has been exhausted in state court .

           155 . This issue was not raised on the original direct appeal .

           156. This issue was raised in the initial habeas proceeding which was granted on other

grounds and subsequently reversed by the Georgia Supreme Cou rt. Schofield v. Meders, 280

Ga. 865 , 632 S .E.2d 369 ( 2006 ) cert, denied sub . nom.          Meders v. Schofield, 127 S .Ct. 958

(2007) .




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                                        CLAIM SIXTEEN

                           FLAWED PROPORTIONALITY REVIE W

THE DEATH PENALTY IN GEORGIA VIOLATES THE EIGHTH AND FOURTEENTH
AMENDMENTS TO THE UNITED STATES CONSTITUTION BECAUSE THE GEORGIA
SUPREME COURT DOES NOT CONDUCT AND PUBLISH A COMPREHENSIBLE
PROPORTIONALITY REVIEW OF EVERY DEATH SENTENCE WHICH CONSIDERS
THE CIRCUMSTANCES OF THE CRIME AND THE CHARACTERISTICS OF THE
CONVICTED DEFENDANT, BUT INSTEAD MERELY PUBLISHES A STRING CITATION
OF DECISIONS, MOST OF WHICH ARE DISSIMILAR TO THE CASE AT HAND,
FOLLOWED BY A GENERIC STATEMENT THAT THE COURT HAS FOUND THE
DEATH SENTENCE IMPOSED "IS NEITHER EXCESSIVE NOR DISPROPORTIONATE
TO SENTENCES IMPOSED IN SIMILAR CASES, CONSIDERING BOTH THE CRIME
AND THE DEFENDANT."

        157 . Petitioner incorporates all prior allegations of fact as if set out fully herein . This

claim is evidenced by the following factual allegations and legal conclusions .

        158 . The Georgia Supreme Court's proportionality review of Meders's sentence

consisted of a string cite of cases that presented facts and circumstances mostly unrelated to the

circumstances of Petitioner' s crime or Petitioner's personal characteristics . See Meders II , 261

Ga . at 807, 411 S.E.2d at 492 . In a capital punishment system dependent upon proportionality

review to justify its constitutionality, this opaque, minimalist approach to proportionality review

violated Petitioner's constitutional rights and did not serve the proper interests of the people of

the state of Georgia .

        159 . In support of its affirmation of Meders' s sentence , the Georgia Supreme Court

listed twenty-eight cases in the Appendix to its opinion and declared that "[t]he similar cases

listed in the Appendix support the imposition of a death sentence in this case ." Id. In almost

half the listed cases , the defendant was charged with multiple murders perpetrated during the

commission of at least one (usually more than one) capital felony, commi tted under particularly

chilling and gruesome circumstances .      Frazier v . State, 362 S .E.2d 351(1987) (two counts




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murder, one count armed robbery ; defendant beat two elderly persons to death during the

commission of a burglary ; two months prior to the crime defendant had also burglarized the

home of an elderly person and beaten the occupant unconscious) ; Ford v . State, 360 S .E.2d 258

(1987) (two counts murder, one count armed robbery, one count burglary, one count felony

possession of a firearm ; after weeks of planning, defendant robbed grocery store where his

former lover worked and shot both his former lover and her 11-year old daughter in the head

before making off with the money) ; Romine v. State , 350 S .E.2d 446 (1986) (two counts murder;

one count armed robbery ; after days of planning, defendant entered his parents' home, shot both

at point blank range and stole money and other items out of his mother's purse) ; Finney v. State,

320 S .E .2d 147 (1984) (two counts murder ; two counts kidnapping; defendant and co-defendant

kidnapped two elderly women, raped the first woman and brought both to a remote area where

they beat them both to death) ; Putman v . State , 308 S .E.2d 145 (1983) (two counts murder ;

defendant pulled up to a highway rest stop, shot a married couple at point blank range in the

presence of their two children and another relative ; it was proven at trial that the defendant had

perpetrated a nearly identical crime at another rest stop and this was part of a continuous course

of conduct closely connected in time, place and manner of commission) ; Mincey v. State, 304

S.E.2d 332 (1983) (two counts murder; one count aggravated battery ; one count armed robbery ;

defendant shot two adults, one as she ran away from him, during the commission of a robbery

and intended to shoot three kids who were present but circumstances prevented it) ; Wilson v .

State, 300 S .E. 2d 640 (two counts murder ; one count armed robbery) ; Rivers v . State , 298

S.E.2d 10 (1982) (two counts murder, two counts armed robbery, two counts kidnapping ;

defendants entered the home of the elderly parents of their friends, marched the couple into a

cornfield shot them execution style, and robbed them) ; Peek v . State, 238 S.E.2d 12 (1977) (two




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counts murder; one count kidnapping ; defendant bludgeoned his brother to death and murdered

the only witness to the crime) ; Birt v . State, 225 S .E. 2d 28 (1976) (two counts murder; two

counts armed robbery ; defendant tortured the wife of an elderly farm owner in the husband's

presence, then shot them both and robbed them); Mitchell v. State, 223 S .E.2d 703 (1976) (two

counts murder ; one count armed robbery ; defendant shot a woman and her 14-year old son after

herding them into a cooler at the local grocery store, and attempted to kill two other young boys

but failed because he ran out of bullets) ; Gregg v . State , 210 S .E .2d 659 (1974) (two counts

murder ; two counts armed robbery ; defendant/hitchhiker murdered driver and passenger in car

that picked him up ; both victims were shot at a distance and then again, execution style) .

        160 . In an additional eleven cases, the defendants were charged with one count of

murder, one count of armed robbery and an additional aggravating factor unrelated to the

robbery charge-meaning the aggravating circumstance involved at least one or more additional

capital felonies (not simply that the crime was committed for pecuniary gain, as in the Meders

case), the crime was found to be outrageously wanton and vile, or the defendant was shown to

have a criminal history . Miller v. State, 380 S .E . 2d 690 (1989) (one count murder ; one count

kidnapping; two counts robbery ; defendant forced murder victim off the road and shot him in the

back as he ran from them, then kidnapped another victim, entered that victim's home with his

key, tied up his roommate, stole from the home, and dumped the victim, still alive, on the side of

the road and urinated on him) ; Lee v. State , 365 S .E.2d 99 ( 1988) (one count murder ; one count .

robbery ; defendant had six prior theft offenses and two first degree forgery offenses) ; Ingram v .

State, 323 S .E.2d 801 (1984) (one count murder ; one count aggravated assault (attempted

murder); two counts armed robbery ; entered the home of victims and demanded money and the

use of phone ; marched husband and wife out back, tied them to chairs and gagged them ; shot




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them both in the head ; the wife survived and identified the assailant); Spivey v. State , 319 S .E.2d

420 (1984) (one count murder ; two counts aggravated assault; three counts robbery ; one count

kidnapping) ; Jones v. State, 293 S .E.2d 10 (1982) (one count murder; one count armed robbery ;

murder was found to be "outrageously and wantonly vile" as aggravating factor ; murder victim

had been tortured and beaten prior to death) ; Solomon v. State, 277 S .E.2d 1 (1981) (one count

murder ; one count armed robbery ; as aggravating circumstance murder was found to be

"outrageously vile, horrible or inhuman in that it involved torture, depravity of mind, and an

aggravated battery to the victim .") ; Dick v . State , 273 S .E.2d 124 (1980) (one count murder ; one

count armed robbery ; defendant had prior conviction for statutory rape) ; Jones v. State , 256

S.E .2d 907 (1979) (one count murder ; one count armed robbery ; as aggravating circumstance it

was found that the defendant had "knowingly created a great risk of death to more than one

person in a public place by means of a weapon . . . which would normally be hazardous to the

lives of more than one person") ; Amadeo v . State , 255 S .E.2d 718 (1979) (one count murder ; one

count armed robbery ; pattern and practice evidence showed that defendant committed an

identical crime in another state shortly before the commission of crime) ; Corn v. State, 240

S.E.2d 694 (1977) (one count murder ; one count armed robbery; the offense of armed robbery

was "outrageously or wantonly vile, horrible or inhuman in that it involved depravity of mind") ;

Dobbs v . State , 224 S .E .2d 3 (1976) (one count murder ; two counts armed robbery ; two counts

aggravated assault) .

        161 . In two of the cases listed in the Appendix, although the statutory aggravating

circumstances found by the jury were the same as those found in the present case, additional

factors relevant to the defendant's character and to the heinous nature of the crime placed the

crimes committed in a qualitatively different, more egregious category than the crime allegedly




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committed by Meders . Berryhill v. State , 291 S.E.2d 685 (1982) (one count murder ; one count

burglary ; after breaking into a private home, defendant murdered husband by shooting him five

time in front of wife and child, then suddenly ran from the house) ; Goodwin v . State , 223 S .E. 2d

3 (1976) (one count murder ; one count armed robbery ; defendant lured the victim, a supposed

friend, into the woods and demanded he turn over his car ; when victim refused, defendant

stabbed him eighteen times to death) .

        162 . The remaining three of the twenty-eight cases listed approximate the crimes

charged in this case as well as the aggravating circumstances found by the jury, but these are

aberrations in the general pattern. See Roberts v . State , 319 S .E.2d 420 (1984) (one count

murder; one court armed robbery ; defendant entered private home and shot the woman occupant

in the back as she was fleeing the scene) ; Pulliam v. State , 224 S .E.2d 8 (1976) (one count

murder; one count armed robbery, defendant shot cab driver at point blank range and stole small

amount of money) ; Moore v . State, 213 S .E.2d 829 (1975) (one count murder ; one count

burglary ; defendant broke into private residence and shot occupant before robbing him ; the

defendant was fired upon first by the homeowner and shot in the leg and then fired back, killing

the owner.). Note that each of these three opinions were issued between twenty-three and thirty

years ago, suggesting that standards have changed, and such crimes, if tried today, would not be

placed in that separate plane of crimes for which the death penalty is warranted and

constitutionally permissible .

        163 . This issue has been exhausted in state court .

        164 . This issue was not raised on the original direct appeal .

        165 . This issue was raised in the initial habeas proceeding which was granted on other

grounds and subsequently reversed by the Georgia Supreme Court .          Schofield v . Meders, 280




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Ga. 865, 632 S .E.2d 369 (2006) cert. denied sub. nom.            Meders v . Schofield , 127 S .Ct. 95 8

(2007).

                                         CLAIM SEVENTEE N

               CRUEL AND INHUMAN ADMINISTRATION OF DEATH PENALT Y

THE DEATH PENALTY IN GEORGIA VIOLATES THE EIGHTH AND FOURTEENTH
AMENDMENTS TO THE UNITED STATES CONSTITUTION BECAUSE IT IS
ADMINISTERED IN A CRUEL AND INHUMAN MANNER .

           166 . Petitioner incorporates all prior allegations of fact as if set out fully herein . This

claim is evidenced by the following factual allegations and legal conclusions .

           167 . The death penalty in Georgia is administered in an unnecessarily cruel and

unusual fashion and, thus, violates the Eighth Amendment to the United States Constitution .

           168 . This issue has been exhausted in state court .

           169 . This issue was not raised on the original direct appeal .

           170 . This issue was raised in the initial habeas proceeding which was granted on other

grounds and subsequently reversed by the Georgia Supreme Court .             Schofield v . Meders, 280

Ga . 865, 632 S .E.2d 369 (2006) cert. denied sub . nom .         Meders v. Schofield , 127 S .Ct . 958

(2007) .

                                          CLAIM EIGHTEEN

                      DENIAL OF FULL AND FAIR HEARING ON REMAND

PETITIONER WAS DENIED A FULL AND FAIR HEARING ON REMAND TO THE TRIAL
COURT IN VIOLATION OF HIS RIGHTS UNDER THE FIFTH AND FOURTEENTH
AMENDMENTS TO THE UNITED STATES CONSTITUTION BY THE TRIAL COURT'S
REFUSAL TO CONTINUE THE HEARING TO OBTAIN THE TESTIMONY OF
PETITIONER'S TRIAL COUNSEL WHO WAS HOSPITALIZED, THE TRIAL COURT'S
DENIAL OF FUNDS FOR EXPERTS, AND THE DENIAL OF FAIR ACCESS TO
DISCOVERY PRIOR TO THE HEARING .




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           171 . Petitioner incorporates all prior allegations of fact as if set out fully herein . This

claim is evidenced by the following factual allegations and legal conclusions .

           172 . Trial counsel Davis was hospitalized shortly before the remand hearing and

Petitioner moved for a continuance to obtain his presence at the hearing . The remand court

denied the motion without explanation and Petitioner was thus deprived of Davis's testimony .

Trial counsel Davis later died before the state habeas petition was filed in this matter .

           173 . As Petitioner Meders had the burden of proving Davis's ineffectiveness at the

remand hearing, which was part of the direct appeal, Meders had a due process right to access

the testimony of trial counsel Davis and a right to have his then current remand counsel perform

effectively. These rights were violated by the remand court's refusal to grant a brief

continuance . See Panetti v . Quarterman, _U.S ._, 2007 WL 1836653 (Decided June 28, 2007)

and Evitts v. Lucey, 469 US 387 (1985) .

           174 . This issue has been exhausted in state court .

           175 . This issue was raised on the direct appeal after the remand hearing .

           176 . This issue was also raised in the initial habeas proceeding which was granted on

other grounds and subsequently reversed by the Georgia Supreme Court . Schofield v . Meders,

280 Ga. 865, 632 S .E.2d 369 (2006) cert denied sub . nom . Meders v. Schofield , 127 S.Ct. 958

(2007) .

                                          CLAIM NINETEEN

    INEFFECTIVE ASSISTANCE OF COUNSEL ON REMAND AND DIRECT APPEAL

PETITIONER WAS DENIED THE EFFECTIVE ASSISTANCE OF COUNSEL AT THE
REMAND HEARING AND ON DIRECT APPEAL IN VIOLATION OF THE SIXTH,
EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
CONSTITUTION BY THE MULTIPLE FAILINGS OF COUNSEL, INTER ALIA, THE
FAILURE TO OBTAIN THE TESTIMONY OF TRIAL COUNSEL, THE FAILURE TO
APPEAL THE FAILURE OF TRIAL COUNSEL TO REQUEST A HEARING CONCERNIN G



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USE OF AN INFORMANT, THE FAILURE TO PRODUCE OBJECTIVE EVIDENCE IN
SUPPORT OF CLAIM OF INEFFECTIVE ASSISTANCE OF TRIAL COUNSEL, THE
FAILURE TO CALL THE PROSECUTOR AS A WITNESS, THE FAILURE TO PRESENT
CONVINCING EVIDENCE OF INCONSISTENCIES IN TRIAL TESTIMONY OF KEY
STATE WITNESSES, THE FAILURE TO RAISE ON APPEAL THE FALSE TESTIMONY
OF THE CASE AGENT AND THE PROSECUTOR'S USE OF FALSE TESTIMONY AT
TRIAL AND IN ARGUMENT TO THE JURY, THE FAILURE TO RAISE
PROSECUTORIAL MISCONDUCT AT THE REMAND HEARING, AND THE FAILURE
TO RAISE PROSECUTORIAL MISCONDUCT ON APPEAL .

       177 . Petitioner incorporates all prior allegations of fact as if set out fully herein .

       178 . As set out in footnote 10, supra, Petitioner Meders, with the assistance of other

counsel, is filing a second state habeas petition in which he challenges the effective assistance of

counsel provided to him on remand and on direct appeal . This filing is necessitated by the

Georgia Supreme Court's ruling that Meders's counsel defaulted significant issues by not raising

them at the remand hearing . Schofield v . Meders, 280 Ga . 865, 632 S .E.2d 369 (2006) . Petitioner

takes the Georgia Supreme Court's conclusions issued with respect to default as accurate for

purposes of the recently initiated state habeas proceedings, and includes them in this petition

only for the purposes of preserving them for federal review based on any findings by the state

court in relation to that state habeas proceeding . Petitioner maintains his right to challenge the

legal and factual bases for the conclusions of the Georgia Supreme Court in the litigation before

this Court . This claim is evidenced by the following factual allegations and legal conclusions .

        179 . Petitioner was denied his right to effective assistance of appellate counsel in

violation of the 6th, 8th, and 14th Amendments to the United States Constitution and Art . 1,

Section 1 and Sections I and XIV of the Georgia Constitution of 1983, in that :

               (a) Appellate counsel failed to properly raise and pursue the issue of

prosecutorial misconduct, and specifically failed to demonstrate that the prosecutor failed or

otherwise refused to disclose to petitioner that an essential witness for the state during th e




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guilt/innocence phase of the trial, Randy Harris, was himself the state's informant in its

investigation of the crime, or was the informant's source of information about the crime ;

               (b) Appellate counsel failed to raise on direct appeal the failure of trial

counsel , John Davis and/or Don Manning, to request a hearing under Roviaro v United States,

353 U .S . 53, 77 S.Ct. 623, 1 L .Ed . 2d 639 (1957), once trial counsel learned during the

preliminary hearing that the state used an informant in its investigation of the crime ;

               (c) Appellate counsel failed to properly, effectively and coherently present the

inconsistencies in the testimony of and between the state's main accusatory witnesses, Randy

Harris, James Greg Creel and/or William "Bill" Arnold that would have provided "objective

evidence" in support of appellate counsel' s claim that the representation of the defendant by trial

counsel , John Davis, at the guilt/innocence phase of the trial was constitutionally deficient and

ineffective . Specifically, appellate counsel failed to establish how the prior statements of these

individuals to the police had changed, were conflicting with each other, did not conform with

their trial testimony, and to establish that various representations made by the prosecutor, during

both the guilt/innocence and sentencing phases of the trial, were less than truthful ;

                (d) Appellate counsel failed to produce readily available "objective evidence,"

at the Supreme-Court-ordered remand hearing, that occurred as part of the petitioner's appeal of

his conviction, that trial counsel, John Davis, provided ineffective assistance of counsel at and

during the guilt/innocence phase of the trial ;

                (e) Appellate counsel failed to use the legal remedies available in order to

obtain the necessary testimony of original trial counsel, John Davis, for use at the remand

hearing to establish ineffective assistance of trial counsel during the guilt/innocence and

sentencing phases of the trial ;




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                 (f) Appellate counsel failed to properly, effectively, and coherently present

evidence at the remand hearing that, irrespective of the representations made by the prosecutor,

exculpatory evidence contained in the state's file was not made available to trial counsel, John

Davis . More particularly, appellate counsel failed to establish at the remand hearing that the

various oral and recorded statements of third party witnesses, and prior police incident reports

that contradicted the state's witnesses, which were contained in the prosecutor's file, were not

made available to trial counsel, John Davis, prior to the commencement of the guilt/innocence

phase of the trial .

                 (g) Appellate counsel failed to raise on direct appeal the introduction by the

state of false testimony by a detective in the guilt/innocence phase of the trial, and during the

same phase, how a portion of the prosecutor's argument to the jury was false . Specifically,

allowing a detective to testify that there was no evidence known to him that would substantiate

the petitioner's testimony that certain shootings occurred prior to the time of the crime, in which

one of the state's main accusatory witnesses may have been implicated . In addition, appellate

counsel failed to raise on direct appeal the prejudice resulting from the prosecutor arguing to the

jury that the state's witnesses told the same story from beginning to end, when he knew that was

false . Due to appellant counsel's failure to raise these issues during direct appeal they were

found to be procedurally defaulted ;

                  (h) Appellate counsel failed to raise on direct appeal that the prosecutor,

although not soliciting false evidence, allowed testimony of a detective, during the

guilt/innocence phase of the trial, and himself made an argument to the jury bolstering the

credibility of the state's witnesses, which he should have known was misleading . Specifically,

allowing a detective to testify that there was no evidence known to him that would substantiat e




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the petitioner's testimony of certain shootings that occurred prior to the time of the crime, in

which one of the state's main accusatory witnesses may have been implicated . In addition, the

prosecutor argued to the jury that the state's witnesses told the same story from beginning to end,

when he should have known that was untrue, and failed to correct this prior to the conclusion of

his argument . Due to appellant counsel's failure to raise these issues during direct appeal they

were found to be procedurally defaulted ;

               (i) Appellate counsel failed to raise prosecutorial misconduct at the remand

hearing, thereby denying petitioner's due process rights . If this issue had been raised, the false

testimony of a detective during the guilt/innocence phase of the trial, and the impropriety of a

portion of the prosecutor's argument to the jury would have been revealed . Specifically, the

testimony of a detective that there was no evidence known to him that would substantiate the

petitioner's testimony of certain shootings that occurred prior to the time of the crime would have

been revealed to be false, and the evidence pertaining to those shootings would have cast into

doubt the testimony of two of the state's main accusatory witnesses . In addition, the

prosecutor's argument to the jury that the state's witnesses told the same story from beginning to

end would have been shown to be false and that the prosecutor knew or should have known it to

be false . Due to appellant counsel's failure to raise these issues during direct appeal they were

found to be procedurally defaulted ;

               (j) Appellate counsel failed to raise prosecutorial misconduct at the remand

hearing, thereby denying petitioner's due process rights because various oral and recorded

statements of third party witnesses, prior criminal records of trial witnesses and prior police

incident reports, which were contained in the prosecutor's file, were not made available to tria l




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counsel, John Davis and/or Don Manning . Due to appellant counsel's failure to raise these

issues during direct appeal they were found to be procedurally defaulted ;

                   (k) Appellate counsel failed to raise at the remand hearing that petitioner was

denied his right to equal protection in violation of the fifth and fourteenth amendments to the

United States Constitution by the procedure used to select grand and traverse jury arrays in

Glynn County, which ensured a pre-determined racial composition by deliberately and

systematically removing all white jurors once the array reached a predetermined percentage of

white jurors .24

        180 . Grounds raised herein that were not previously raised could not have been

previously raised because the basis for the grounds was dependent upon the appellate ruling of

the Georgia Supreme Court on June 12, 2006 . Additionally, grounds raised herein were not

raised on direct appeal because the acts complained of herein involved different appellate

counsel, and were not discovered until new counsel, Dykema Gossett, began representing

petitioner in May 2007 .

        181 . This issue has not been exhausted in state court . A second habeas petition is being

filed by other counsel before the Superior Court for Butts County, Georgia . Petitioner here

respectfully requests that this Court hold consideration of the instant petition in abeyance until

the second habeas petition is litigated in state court .


        24As set our previously, see paragraph 178 infra, all of these grounds are the subject of a
second state habeas proceeding that Mr. Meders is filing in state court with the assistance of
other counsel . Specifically as regards the issue contained in this paragraph , paragraph 179(k),
the instant petition filed in this Court contains a separate claim relating to the same factual
matter, the jury composition challenge, as CLAIM EIGHT to this petition . By including this
allegation also relating to the jury challenge as part of CLAIM NINETEEN, Petitioner is seeking
to preserve this issue in light of the possible outcome in the state proceeding , and is in no way
intending to conceded his right to argue to this Court that, based on the actions of the State and
the state courts prior to this filing , the claim set out in CLAIM EIGHT was not procedurally
defaulted.


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                                  PRAYERS FOR RELIEF

WHEREFORE, Petitioner respectfully prays that this Court :

          A . Issue a writ of habeas corpus to have Petitioner brought before it to the end
                  that he may be discharged from his unconstitutional confinement and restraint,
                  and/or be relieved of his unconstitutional sentence of death;

           B . Conduct a hearing at which proof may be offered concerning the allegations
                  of this petition ;

           C . Permit Petitioner, who is indigent, to proceed in forma pauperis;

           D . Grant Petitioner, who is indigent, sufficient funds to secure the expert
                  testimony necessary to prove the facts as alleged in this petition and appoint
                  the below signed as counsel for Petitioner as they have represented him since
                  1990 and are fully familiar with his case ;

           E . Allow discovery, pursu ant to Rule 6, Rules Gove rning Section 2254 Cases in
                  the United States District Court ;

           F . Grant Petitioner the authority to obtain subpoenas in forma pauperis for
                  witnesses and documents necessary to prove the facts as alleged in this
                  petition ;

           G. Allow Petitioner to amend this petition after the assistance of experts and
                discovery ;

           H . Allow Petitioner a period of sixty (60) days, which period shall commence
                   after the completion of any hearing this Court shall determine to conduct, in
                   which to brief the issues of law raised by this petition ; an d

           1.     Such other relief as this Court may deem just and appropriate .


DATED, this 1    3~
                  day of July, 2007 .




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                                     DRU H . VOLINSKY
                                  Bernstein Shur
                                  P.O. Box 1120
                                  Manchester, NH 03105-1120
                                  (603) 623-8700




                                  JAMES K. JENKINS,
                                  Maloy & Jenkins
                                  75 Fourteenth Street, N W
                                  25th Floor
                                  Atlanta, GA 3030 9

                                  Counsel for Petitioner Jimmy Fletcher
                                  Meders




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